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                          EXHIBIT 1
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             WILLCOX & SAVAGE, P.C. TIME ENTRIES IN THE PROSECUTION
            OF COURTHOUSE NEWS SERVICE V. GEORGE E. SCHAEFER, ET AL.

   04/05/18      Review email from Mr. Hibsher and review previous data from
                 Mr. Abbott;

                 C.M. SHUMADINE                       0.10 hr.

   04/17/18      Email from Mr. Hibsher re: July schedule and response and
                 additional email to Mr. Hibsher;

                 C.M. SHUMADINE                       0.10 hr.

                                   April 2018 Summary of Fees

   C.M. SHUMADINE:                     0.20 hr. @ $450/hr.                           $   90.00

                           *       *      *       *      *       *      *

   06/27/18      Conference call with Mr. Hibsher and Ms. Goldman re: issues
                 in proceeding;

                 C.M. SHUMADINE                       0.20 hr.

                                   June 2018 Summary of Fees

   C.M. SHUMADINE:                     0.20 hr. @ $450/hr.                           $   90.00

                           *       *      *       *      *       *      *

   07/08/18      Review draft pleadings sent by Mr. Hibsher and make a
                 preliminary analysis of such pleadings;

                 C.M. SHUMADINE                       0.80 hr.

   07/09/18      Review drafts of various pleadings sent by Mr. Hibsher, including
                 drafts of complaint, memorandum of law and declarations;

                 C.M. SHUMADINE                       1.70 hr.

   07/09/18      Email to Mr. Hibsher with initial comments;

                 C.M. SHUMADINE                       0.20 hr.

   07/09/18      Email from and to Mr. Hibsher and research re: access to filings
                 through OCRA and delays associated with such access;



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                 C.M. SHUMADINE                         0.40 hr.

   07/10/18      Email to Mr. Hibsher following up on the concerns in regard to the
                 pleadings;

                 C.M. SHUMADINE                         1.90 hr.

   07/10/18      Email to Mr. Hibsher following up on the concerns in regard to the
                 pleadings;

                 C.M. SHUMADINE                         0.20 hr.

   07/11/18      Email from Mr. Harrison and email to Mr. Hibsher, et al., re: issues
                 in regard to proposed filing;

                 C.M. SHUMADINE                         0.20 hr.

   07/11/18      Review cases cited in memorandum;

                 C.M. SHUMADINE                         0.50 hr.

   07/11/18      Email from Ms. Goldman and review of revised drafts of pleadings;

                 C.M. SHUMADINE                         0.70 hr.

   07/11/18      Continue review of draft pleadings and analyze issues related
                 to draft pleadings and review the factual allegations;

                 C.M. SHUMADINE                         1.30 hr.

   07/12/18      Review cases cited in brief;

                 C.M. SHUMADINE                         0.70 hr.

   07/12/18      Continue review and analysis of draft pleadings, including
                 the declarations and review facts set forth in declarations;

                 C.M. SHUMADINE                         1.10 hr.

   07/12/18      Email from Ms. Goldman and response re: her questions
                 regarding local procedure;

                 C.M. SHUMADINE                         0.20 hr.

   07/12/18      Email from Mr. Hibsher, et al., re: local procedure
                 in regard to obtaining a preliminary injunction;

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                 C.M. SHUMADINE                         0.30 hr.

   07/13/18      Prepare for conference call related to filing lawsuit and
                 procedure;

                 C.M. SHUMADINE                         0.30 hr.

   07/13/18      Review revised draft pleadings and cases cited;

                 C.M. SHUMADINE                         1.20 hr.

   07/13/18      Email to Ms. Goldman with form of motions;

                 C.M. SHUMADINE                         0.10 hr.

   07/13/18      Conference call with Mr. Hibsher and Ms. Goldman re:
                 issues in case and local procedure;

                 C.M. SHUMADINE                         0.40 hr.

   07/14/18      Review revised draft of pleadings;

                 C.M. SHUMADINE                         0.90 hr.

   07/14/18      Emails to Ms. Goldman re: formatting and local issues;

                 C.M. SHUMADINE                         0.20 hr.

   07/15/18      Review revised draft of pleadings;

                 C.M. SHUMADINE                         0.30 hr.

   07/15/18      Emails to Ms. Goldman re: additional questions re:
                 local practice;

                 C.M. SHUMADINE                         0.20 hr.

   07/16/18      Review draft pleadings and continued revisions to
                 draft pleadings;

                 C.M. SHUMADINE                         0.80 hr.

   07/16/18      Email from Ms. Goldman re: revised Complaint and review
                 of revised Complaint;

                 C.M. SHUMADINE                         0.30 hr.


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   07/16/18      Email to and from Ms. Goldman re: revised Complaint and
                 her questions re: local practice in formatting Complaint;

                 C.M. SHUMADINE                        0.20 hr.

   07/16/18      Send documents to Clerks;

                 C.M. SHUMADINE                        0.10 hr.

   07/17/18      Review additional revisions to draft pleadings re: preparation
                 for filing;

                 C.M. SHUMADINE                        0.50 hr.

   07/18/18      Review revised draft pleadings;

                 C.M. SHUMADINE                        0.40 hr.

   07/18/18      Prepare for conference call with Mr. Hibsher, Ms. Goldman,
                 Mr. Harrison re: pleadings and procedure;

                 C.M. SHUMADINE                        0.70 hr.

   07/18/18      Email from Mr. Hibsher re: attorney's fees;

                 C.M. SHUMADINE                        0.10 hr.

   07/18/18      Email to Mr. Hibsher re: issues regarding attorney's fees
                 in the Eastern District of Virginia;

                 C.M. SHUMADINE                        0.10 hr.

   07/19/18      Email from Ms. Goldman re: corporate disclosure statement;

                 C.M. SHUMADINE                        0.10 hr.

   07/19/18      Email from Ms. Goldman with finals of Declarations;

                 C.M. SHUMADINE                        0.10 hr.

   07/19/18      Review finals of the Declarations;

                 C.M. SHUMADINE                        0.30 hr.

   07/19/18      Email from Ms. Goldman with finals of Complaint ;



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                 C.M. SHUMADINE                          0.10 hr.

   07/19/18      Review Complaint;

                 C.M. SHUMADINE                          0.90 hr.

   07/19/18      Review issues re: the filing procedure in regard to the
                 filings in the case;

                 C.M. SHUMADINE                          0.20 hr.

   07/20/18      Telephone conference with Mr. Hibsher;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Review filing on PACER;

                 C.M. SHUMADINE                          0.20 hr.

   07/20/18      Email to Mr. Larsen re: conference call;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Additional telephone conference with Mr. Hibsher re:
                 issues in conference call;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Email re: judge selected;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Email to Mr. Larsen re: relief requested in lawsuit;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Letter to process server re: service;

                 C.M. SHUMADINE                          0.10 hr.

   07/20/18      Review possible suggestions to Mr. Larsen to comply
                 with providing immediate access;

                 C.M. SHUMADINE                          0.30 hr.

   07/20/18      Voicemail from Mr. Larsen;

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                 C.M. SHUMADINE                         0.10 hr.

   07/20/18      Telephone conference with Mr. Hibsher's office;

                 C.M. SHUMADINE                         0.10 hr.

   07/20/18      Locate process servers in Prince William County re: serving
                 documents on the Clerk of the Circuit Court on an expedited basis;

                 P. YODER                               0.30 hr.

   07/23/18      Email to Mr. Larsen re: telephone call;

                 C.M. SHUMADINE                         0.10 hr.

   07/23/18      Email from and to Mr. Hibsher re: the call;

                 C.M. SHUMADINE                         0.10 hr.

   07/23/18      Conference call with Mr. Hibsher and Mr. Larsen and
                 analysis of issues re: conference call;

                 C.M. SHUMADINE                         0.20 hr.

   07/23/18      Analyze issues raised by Mr. Larsen and email to
                 Mr. Hibsher, et al., re: how to deal with the issues;

                 C.M. SHUMADINE                         0.50 hr.

   07/23/18      Email from Mr. Hibsher responding re: facts supporting
                 CNS's positions;

                 C.M. SHUMADINE                         0.10 hr.

   07/24/18      Analyze issues relating to Mr. Larsen's comments and
                 review how to resolve factual disputes prior to a hearing;

                 C.M. SHUMADINE                         0.60 hr.

   07/27/18      Review notice of returned summons for Mr. Schaefer
                 filed on PACER;

                 C.M. SHUMADINE                         0.10 hr.

   07/27/18      Telephone conference with Mr. Fiorello re: Mr. Schaefer's
                 request for additional time;

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                 C.M. SHUMADINE                          0.10 hr.

   07/27/18      Telephone conference with Mr. Hibsher's office and voicemail
                 to Mr. Hibsher;

                 C.M. SHUMADINE                          0.10 hr.

   07/27/18      Telephone conference with Mr. Hibsher re: Mr. Fiorello's
                 request;

                 C.M. SHUMADINE                          0.20 hr.

   07/30/18      Email from Mr. Hibsher re: extension;

                 C.M. SHUMADINE                          0.10 hr.

   07/30/18      Review file and email to Mr. Hibsher re: extension
                 and issues regarding counsel for the clerks;

                 C.M. SHUMADINE                          0.10 hr.

                                    July 2018 Summary of Fees

                               Hours           Rate/Hr          Amount

   C.M. SHUMADINE              22.30           450.00            10,035.00
   P. YODER                     0.30           155.00                46.50
   TOTAL                       22.60                            $10,081.50

   July 2018 Fees for Professional Services                                     $10,081.50

                           *       *      *       *        *        *    *

   08/02/18      Telephone conference with Mr. Hibsher re: call
                 with Mr. Prince and review file;

                 C.M. SHUMADINE                          0.30 hr.

   08/02/18      Conference call with Mr. Prince, Mr. Hibsher, et al.;

                 C.M. SHUMADINE                          0.50 hr.

   08/02/18      Telephone conference with Mr. Hibsher re:
                 conference call with Mr. Prince, et al.;

                 C.M. SHUMADINE                          0.20 hr.


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   08/02/18      Email from Mr. Hibsher to Mr. Prince and response
                 from Mr. Prince re: agreement to briefing schedule;

                 C.M. SHUMADINE                       0.10 hr.

   08/02/18      Analyze issues raised by Mr. Prince in the
                 conference call re: delays;

                 C.M. SHUMADINE                       0.20 hr.

   08/03/18      Email from Mr. Hibsher, et al., re: Judge Morgan's
                 schedule;

                 C.M. SHUMADINE                       0.10 hr.

   08/06/18      Telephone conference with Mr. Hibsher re: schedule
                 and issues in case and local practice;

                 C.M. SHUMADINE                       0.20 hr.

   08/06/18      Email to Mr. Prince and response re: motion for extension
                 and to set a briefing schedule;

                 C.M. SHUMADINE                       0.10 hr.

   08/07/18      Review email from Mr. Prince and email to Mr. Hibsher
                 re: scheduling;

                 C.M. SHUMADINE                       0.10 hr.

   08/07/18      Review draft motion and order and email to Mr. Prince
                 approving form re: schedule;

                 C.M. SHUMADINE                       0.10 hr.

   08/07/18      Follow-up email from Mr. Prince re: signatures;

                 C.M. SHUMADINE                       0.10 hr.

   08/08/18      Telephone conference with Mr. Hibsher re:
                 call with courtroom deputy;

                 C.M. SHUMADINE                       0.10 hr.

   08/08/18      Email from Mr. Hibsher re: call to courtroom deputy;



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                  C.M. SHUMADINE                         0.10 hr.

    08/08/18      Email responding to Mr. Hibsher's questions concerning
                  call to courtroom deputy;

                  C.M. SHUMADINE                         0.10 hr.

    08/08/18      Email from Mr. Harrison containing questions re: local
                  practice;

                  C.M. SHUMADINE                         0.10 hr.

    08/08/18      Investigate and review law re: Mr. Harrison's questions;

                  C.M. SHUMADINE                         0.20 hr.

    08/08/18      Email to Mr. Harrison responding to the questions raised;

                  C.M. SHUMADINE                         0.20 hr.

    08/08/18      Email from and to Mr. Prince re: call to courtroom deputy;

                  C.M. SHUMADINE                         0.10 hr.

    08/08/18      Additional email from Mr. Prince and Mr. Hibsher
                  re: call and local practice;

                  C.M. SHUMADINE                         0.10 hr.

    08/09/18      Email from Mr. Hibsher and response and follow-up email
                  re: call with courtroom deputy and re: scheduling issues;

                  C.M. SHUMADINE                         0.20 hr.

    08/10/18      Email from Mr. Prince re: hearing;

                  C.M. SHUMADINE                         0.10 hr.

    08/10/18      Email responding to Mr. Prince;

                  C.M. SHUMADINE                         0.10 hr.

    08/10/18      Email to Mr. Hibsher re: Ms. Smith's condition and an
                  analysis of issues relating to Ms. Smith's need to attend hearing;

                  C.M. SHUMADINE                         0.20 hr.


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    08/10/18      Email from Mr. Prince and Mr. Hibsher re: scheduling;

                  C.M. SHUMADINE                         0.10 hr.

    08/10/18      Email from Mr. Hibsher and response re: scheduling;

                  C.M. SHUMADINE                         0.10 hr.

    08/13/18      Research re: venue issues raised by Mr. Prince;

                  C.M. SHUMADINE                         0.40 hr.

    08/13/18      Telephone conference with Mr. Hibsher re: schedule;

                  C.M. SHUMADINE                         0.20 hr.

    08/13/18      Conference call with Mr. Prince and Mr. Hibsher re:
                  issues involving schedule and setting case;

                  C.M. SHUMADINE                         0.20 hr.

    08/13/18      Conference call to Judge Morgan's courtroom deputy's office;

                  C.M. SHUMADINE                         0.20 hr.

    08/13/18      Email from and to Mr. Hibsher re: personal liability of clerk;

                  C.M. SHUMADINE                         0.10 hr.

    08/13/18      Research re: personal liability of clerk under Virginia
                  risk management procedures;

                  C.M. SHUMADINE                         0.90 hr.

    08/14/18      Research re: personal responsibility of clerks if any
                  judgment is rendered for attorneys' fees;

                  C.M. SHUMADINE                         0.90 hr.

    08/14/18      Email to Mr. Hibsher re: personal responsibility of clerks;

                  C.M. SHUMADINE                         0.10 hr.

    08/14/18      Email from and to Mr. Prince re: schedule;

                  C.M. SHUMADINE                         0.10 hr.


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    08/14/18      Email to Mr. Hibsher re: risk management and response
                  from Mr. Hibsher;

                  C.M. SHUMADINE                         0.10 hr.

    08/15/18      Research re: risk management and personal liability
                  of clerks if any award is made of attorneys' fees;

                  C.M. SHUMADINE                         0.90 hr.

    08/15/18      Email to Mr. Hibsher re: personal liability of clerks;

                  C.M. SHUMADINE                         0.20 hr.

    08/15/18      Telephone conference with Mr. Prince and Mr. Hibsher
                  and attempted conference call to Ms. Baxter;

                  C.M. SHUMADINE                         0.20 hr.

    08/15/18      Follow-up telephone conference with Mr. Prince and
                  Mr. Hibsher re: scheduling issues;

                  C.M. SHUMADINE                         0.10 hr.

    08/15/18      Email to and from Mr. Hibsher re: risk management's
                  position;

                  C.M. SHUMADINE                         0.10 hr.

    08/16/18      Review Yamasaki opinion and email to Mr. Hibsher
                  re: issues raised by opinion;

                  C.M. SHUMADINE                         0.30 hr.

    08/17/18      Email from Mr. Hibsher responding to email and
                  raising issues re: discovery;

                  C.M. SHUMADINE                         0.10 hr.

    08/17/18      Follow-up email to and from Mr. Hibsher;

                  C.M. SHUMADINE                         0.10 hr.

    08/17/18      Telephone conference with Ms. Baxter re: scheduling the hearing;



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                  C.M. SHUMADINE                       0.10 hr.

    08/17/18      Email to Mr. Prince and Mr. Hibsher re: schedule;

                  C.M. SHUMADINE                       0.10 hr.

    08/17/18      Email from and to Mr. Hibsher re: scheduling;

                  C.M. SHUMADINE                       0.10 hr.

    08/20/18      Email from Ms. Baxter re: not setting hearing;

                  C.M. SHUMADINE                       0.10 hr.

    08/20/18      Email to Mr. Hibsher and Mr. Prince re: Ms. Baxter's email;

                  C.M. SHUMADINE                       0.10 hr.

    08/20/18      Email to Mr. Hibsher re: contact with Ms. Baxter;

                  C.M. SHUMADINE                       0.10 hr.

    08/23/18      Preliminary review of filings made by clerks;

                  C.M. SHUMADINE                       0.30 hr.

    08/24/18      Continued review of memorandum in support of motion to dismiss and
                  exhibits;

                  C.M. SHUMADINE                       1.10 hr.

    08/24/18      Review Rule 26(f) order;

                  C.M. SHUMADINE                       0.20 hr.

    08/24/18      Telephone conference with Mr. Hibsher re: issues
                  raised in memoranda;

                  C.M. SHUMADINE                       0.10 hr.

    08/24/18      Review corrected filings;

                  C.M. SHUMADINE                       0.20 hr.

    08/24/18      Email to Mr. Hibsher re: Rule 26(f) order;

                  C.M. SHUMADINE                       0.10 hr.

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    08/24/18      Email from Mr. Prince re: his unavailability for a
                  Rule 26(f) conference;

                  C.M. SHUMADINE                         0.10 hr.

    08/27/18      Email from and to Mr. Hibsher re: call to Ms. Baxter;

                  C.M. SHUMADINE                         0.10 hr.

    08/27/18      Analyze issues related to the need for discovery and how to
                  obtain facts for the hearing and what discovery might be available;

                  C.M. SHUMADINE                         0.80 hr.

    08/28/18      Analyze facts relating to access in the Norfolk Courthouse
                  and email to Mr. Hibsher;

                  C.M. SHUMADINE                         0.40 hr.

    08/28/18      Email from Mr. Hibsher re: issues regarding factual allegations;

                  C.M. SHUMADINE                         0.10 hr.

    08/28/18      Review clerks' statements re: local procedures and analyze
                  how to counter those allegations;

                  C.M. SHUMADINE                         0.40 hr.

    08/29/18      Email from Mr. Hibsher and review of motion and order
                  re: extension requested by Courthouse News;

                  C.M. SHUMADINE                         0.20 hr.

    08/29/18      Email to Mr. Prince, et al., with draft pleadings;

                  C.M. SHUMADINE                         0.10 hr.

    08/29/18      Email from Mr. Prince approving draft pleadings;

                  C.M. SHUMADINE                         0.10 hr.

    08/29/18      File motion for extension;

                  C.M. SHUMADINE                         0.10 hr.

    08/30/18      Email from Ms. Goldman re: issues regarding local

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                  practice and questions;

                  C.M. SHUMADINE                        0.10 hr.

    08/30/18      Email to and from Ms. Goldman re: discovery;

                  C.M. SHUMADINE                        0.20 hr.

    08/30/18      Review memoranda and exhibits filed by clerks in light
                  of the conversation with Mr. Hibsher and consider
                  how to obtain information regarding the facts;

                  C.M. SHUMADINE                        0.90 hr.

    08/31/18      Email from and to Ms. Goldman re: discovery and
                  comments re: discovery;

                  C.M. SHUMADINE                        0.70 hr.

                                   August 2018 Summary of Fees

    C.M. SHUMADINE:                     15.90 hrs. @ $450/hr.                      $7,155.00

                            *       *       *      *       *       *       *

    09/02/18      Email to Ms. Goldman transmitting prior discovery
                  and outlining issues re: third party discovery;

                  C.M. SHUMADINE                        0.30 hr.

    09/04/18      Email from Mr. Hibsher re: possible settlement and
                  analyze and review issues related to settlement;

                  C.M. SHUMADINE                        0.20 hr.

    09/05/18      Analyze issue of retained jurisdiction to enforce settlements;

                  C.M. SHUMADINE                        0.40 hr.

    09/05/18      Email to Mr. Hibsher re: retained jurisdiction to enforce
                  settlements;

                  C.M. SHUMADINE                        0.10 hr.

    09/05/18      Telephone conference with Mr. Hibsher re: issues in
                  case and discovery and re: retained jurisdiction;


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                  C.M. SHUMADINE                         0.20 hr.

    09/05/18      Research re: efiling procedures in Norfolk Circuit Court
                  and telephone calls to other law firms;

                  C.M. SHUMADINE                         0.80 hr.

    09/06/18      Telephone conference with office of Mr. Lotkin
                  at Rutter Mills re: efiling procedures;

                  C.M. SHUMADINE                         0.20 hr.

    09/06/18      Telephone conference with Mr. Lotkin's paralegal
                  re: efiling procedures used by Rutter Mills;

                  C.M. SHUMADINE                         0.20 hr.

    09/06/18      Email to Mr. Hibsher, et al., re: investigation;

                  C.M. SHUMADINE                         0.20 hr.

    09/06/18      Continue investigation and review the factual claims made
                  by the clerks and continued telephone calls to other law firms;

                  C.M. SHUMADINE                         0.80 hr.

    09/07/18      Email from Mr. Hibsher re: local practice;

                  C.M. SHUMADINE                         0.10 hr.

    09/07/18      Email responding to Mr. Hibsher's questions re: local practice;

                  C.M. SHUMADINE                         0.20 hr.

    09/07/18      Follow-up emails from and to Mr. Hibsher re: local practice
                  and re: issues in case;

                  C.M. SHUMADINE                         0.20 hr.

    09/07/18      Email from and to Mr. Hibsher re: procedures in the

                  Eastern District of Virginia Clerk's Office;

                  C.M. SHUMADINE                         0.20 hr.

    09/10/18      Telephone call from Mr. Harrison and Mr. Hibsher re:

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                  Rule 26(f) conference;

                  C.M. SHUMADINE                         0.30 hr.

    09/10/18      Review pleadings and local rules re: potential issues in case;

                  C.M. SHUMADINE                         0.30 hr.

    09/10/18      Continue factual investigation re: electronic filing in Virginia
                  and telephoning other law firms re: their experience;

                  C.M. SHUMADINE                         0.60 hr.

    09/11/18      Prepare for Rule 26(f) conference;

                  C.M. SHUMADINE                         0.20 hr.

    09/11/18      Email from Mr. Harrison with draft of response to motion
                  to dismiss and analyze draft of response;

                  C.M. SHUMADINE                         1.30 hr.

    09/11/18      Email from Mr. Hibsher re: settlement discussions
                  and discovery issues;

                  C.M. SHUMADINE                         0.10 hr.

    09/11/18      Analyze Mr. Hibsher's questions and email responding
                  to his questions;

                  C.M. SHUMADINE                         0.30 hr.

    09/11/18      Rule 26(f) conference by telephone with Mr. Prince and
                  Mr. Hibsher;

                  C.M. SHUMADINE                         0.30 hr.

    09/11/18      Telephone conference with Ms. Baxter and email to
                  Mr. Hibsher, Mr. Harrison and Mr. Prince re: telephone call;

                  C.M. SHUMADINE                         0.10 hr.

    09/11/18      Telephone conference with Clerk's Office and
                  follow-up check with Clerk at Clerk's Office re:
                  Ms. Baxter's availability;



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                  C.M. SHUMADINE                           0.10 hr.

    09/11/18      Email to Mr. Hibsher concerning Ms. Baxter's unavailability;

                  C.M. SHUMADINE                           0.10 hr.


    09/11/18      Review email analyzing Rule 26(f) conference prepared
                  by Mr. Harrison;

                  C.M. SHUMADINE                           0.20 hr.

    09/12/18      Review documents to be filed and analyze the information
                  in documents;

                  C.M. SHUMADINE                           0.40 hr.

    09/12/18      Continue investigation of local practice re: Norfolk
                  electronic filings by telephoning other law firms;

                  C.M. SHUMADINE                           0.20 hr.

    09/12/18      Email from Mr. Harrison re: the closure of the court
                  in light of weather;

                  C.M. SHUMADINE                           0.10 hr.

    09/12/18      Email to Mr. Hibsher, et al., re: issues re: filing;

                  C.M. SHUMADINE                           0.10 hr.

    09/12/18      Email to Mr. Hibsher, et al., re: issues re: filing;

                  C.M. SHUMADINE                           0.10 hr.

    09/13/18      Email from and to Ms. Goldman re: filing;

                  C.M. SHUMADINE                           0.10 hr.

    09/13/18      Review and file brief in opposition to motion to dismiss;

                  C.M. SHUMADINE                           0.70 hr.

    09/13/18      Review email from Ms. Goldman re: discovery and
                  analyze issues on which Ms. Goldman seeks advice;

                  C.M. SHUMADINE                           0.70 hr.

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    09/15/18      Review email from Mr. Prince responding to Rule 26f
                  conference issues;

                  C.M. SHUMADINE                           0.20 hr.

    09/15/18      Email to all re: trial time estimates;

                  C.M. SHUMADINE                           0.10 hr.

    09/17/18      Email from and to Mr. Hibsher re: length of trial;

                  C.M. SHUMADINE                           0.10 hr.

    09/17/18      Email from and to Mr. Hibsher re: letter to OES and
                  re: proposed order;

                  C.M. SHUMADINE                           0.10 hr.

    09/17/18      Review proposed letter to OES;

                  C.M. SHUMADINE                           0.20 hr.

    09/17/18      Review sketch of order;

                  C.M. SHUMADINE                           0.20 hr.

    09/17/18      Email to Mr. Hibsher and response re: proposed order;

                  C.M. SHUMADINE                           0.10 hr.

    09/17/18      Email to and from Mr. Hibsher re: issues regarding
                  venue if Mr. Schaefer is dismissed;

                  C.M. SHUMADINE                           0.10 hr.

    09/17/18      Review summary of Seventh Circuit argument and email
                  to and from Mr. Hibsher re: the Seventh Circuit argument;

                  C.M. SHUMADINE                           0.20 hr.

    09/17/18      Email from Mr. Hibsher and response from Mr. Prince
                  re: meeting between reporter and editor and the
                  Norfolk Circuit Court Clerk;

                  C.M. SHUMADINE                           0.10 hr.

    09/18/18      Email from Mr. Prince and Mr. Hibsher re: meeting

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                  with Mr. Schaefer and confirming details;

                  C.M. SHUMADINE                          0.10 hr.

    09/18/18      Email to Mr. Hibsher re: the timing of initial disclosures;

                  C.M. SHUMADINE                          0.10 hr.

    09/18/18      Email from and to Mr. Hibsher re: the Eastern District
                  of Virginia Clerk's Office;

                  C.M. SHUMADINE                          0.10 hr.

    09/18/18      Email from Mr. Hibsher to Mr. Prince re: settlement
                  proposal and analyze settlement proposal;

                  C.M. SHUMADINE                          0.10 hr.

    09/19/18      Email from Mr. Hibsher to Mr. Prince extending
                  deadline for initial disclosures;

                  C.M. SHUMADINE                          0.10 hr.

    09/19/18      Review Clerks' request for oral argument of motion
                  to dismiss;

                  C.M. SHUMADINE                          0.10 hr.

    09/19/18      Email to Mr. Hibsher, et al., re: Clerk's request for
                  oral argument;

                  C.M. SHUMADINE                          0.10 hr.

    09/20/18      Review revised Rule 26f notes proposed by Mr. Harrison;

                  C.M. SHUMADINE                          0.20 hr.

    09/20/18      Analyze factual claims raised by clerks and review OES's
                  website re: claims made by clerks in their declarations;

                  C.M. SHUMADINE                          0.40 hr.

    09/24/18      Email from Ms. Goldman with draft deposition notices
                  and review of notices;

                  C.M. SHUMADINE                          0.20 hr.

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    09/24/18      Email to Ms. Goldman and arrange for a conference
                  room for deposition;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/18      Review email from Mr. Hibsher to Mr. Prince re:
                  settlement of Schaefer case and analyze issues;

                  C.M. SHUMADINE                         0.20 hr.

    09/25/18      Follow-up email from Ms. Goldman re: depositions;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/18      Email from Mr. Hibsher to Mr. Prince and rearrange
                  conference room for new proposed dates for deposition;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/18      Review declarations of clerks re: factual issues in dispute;

                  C.M. SHUMADINE                         0.10 hr.

    09/26/18      Email from and to Ms. Goldman re: letter to OES and
                  oral argument;

                  C.M. SHUMADINE                         0.20 hr.

    09/26/18      Prepare letter to OES with attachments to be sent;

                  C.M. SHUMADINE                         0.20 hr.

    09/26/18      Follow-up email from and to Ms. Goldman re: her
                  changing the proposed letter to the OES;

                  C.M. SHUMADINE                         0.10 hr.

    09/26/18      Review and revise new draft of letter to OES and Mr. Hade;

                  C.M. SHUMADINE                         0.20 hr.

    09/26/18      Additional email re: changes to letter to Mr. Hade;

                  C.M. SHUMADINE                         0.10 hr.

    09/26/18      Send letter to Mr. Hade;


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                  C.M. SHUMADINE                         0.10 hr.

    09/27/18      Review reply memorandum in support of motion to dismiss;

                  C.M. SHUMADINE                         0.40 hr.

    09/27/18      Review draft settlement agreement and stipulated
                  order of dismissal;

                  C.M. SHUMADINE                         0.50 hr.

    09/27/18      Email re: venue of settlement is implemented and
                  analysis of the effect of settlement on the remaining litigation;

                  C.M. SHUMADINE                         0.20 hr.

    09/27/18      Review objections to discovery filed by clerks and analyze
                  objections;

                  C.M. SHUMADINE                         0.30 hr.

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    C.M. SHUMADINE:                      16.20 hrs. @ $450/hr.                        $ 7,290.00

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    10/01/18      Email from and to Ms. Bryan re: local rules re:
                  discovery and objections;

                  C.M. SHUMADINE                         0.20 hr.

    10/02/18      Email from Mr. Harrison re: sealing complaints;

                  C.M. SHUMADINE                         0.10 hr.

    10/02/18      Research and email to Mr. Harrison re: law in
                  Virginia regarding sealing any documents filed with Court;

                  C.M. SHUMADINE                         0.70 hr.

    10/02/18      Email from Mr. Harrison re: settlement;

                  C.M. SHUMADINE                         0.10 hr.

    10/02/18      Prepare email responding to Mr. Harrison's questions
                  regarding settlement and research re: experience of other

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                  lawyers re: settlement agreements;

                  C.M. SHUMADINE                            0.30 hr.

    10/03/18      Email from and to Ms. Goldman re: protective order;

                  C.M. SHUMADINE                            0.10 hr.

    10/03/18      Telephone conference with Ms. McCloud re: obtaining
                  exemplars of protective orders;

                  C.M. SHUMADINE                            0.10 hr.

    10/03/18      Review plaintiff's initial disclosures;

                  C.M. SHUMADINE                            0.20 hr.

    10/03/18      Email from Ms. Goldman re: initial disclosures;

                  C.M. SHUMADINE                            0.10 hr.

    10/03/18      Review clerks' initial disclosures;

                  C.M. SHUMADINE                            0.20 hr.

    10/03/18      Review email from Mr. Harrison and analyze issues
                  related to initial disclosures;

                  C.M. SHUMADINE                            0.20 hr.

    10/04/18      Review email from Mr. Prince and Mr. Hibsher re: call
                  to discuss discovery issues;

                  C.M. SHUMADINE                            0.10 hr.

    10/04/18      Email from and to Ms. Goldman re: call preliminary
                  to call with Mr. Prince;

                  C.M. SHUMADINE                            0.10 hr.

    10/04/18      Prepare for and participate in call with Mr. Hibsher,
                  Ms. Goldman and Mr. Harrison re: discovery issues
                  to be raised with Mr. Prince;

                  C.M. SHUMADINE                            0.40 hr.



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    10/04/18      Research and discussions with litigators re: filing
                  sealed complaints in state court with which none
                  had any experience;

                  C.M. SHUMADINE                         0.50 hr.

    10/04/18      Follow-up discussion and research re: filing sealed
                  documents with complaint;

                  C.M. SHUMADINE                         0.30 hr.

    10/04/18      Email to Mr. Harrison re: advice that filing sealed
                  documents with complaints would be rare but could be done;

                  C.M. SHUMADINE                         0.10 hr.

    10/05/18      Review email from Mr. Hibsher to Mr. Prince re: settlement;

                  C.M. SHUMADINE                         0.10 hr.

    10/05/18      Review revisions to settlement agreement and analyze
                  issues raised by revisions;

                  C.M. SHUMADINE                         0.30 hr.

    10/05/18      Prepare for conference call and participate in
                  conference call re: discovery and settlement with
                  Mr. Prince, Mr. Hibsher, Mr. Harrison and Ms. Goldman;

                  C.M. SHUMADINE                         0.90 hr.

    10/05/18      Analyze cases re: access to complaints on contemporaneous
                  basis;

                  C.M. SHUMADINE                         0.50 hr.

    10/05/18      Telephone call from Ms. Myers of Attorney General's
                  Office re: letter to OES;

                  C.M. SHUMADINE                         0.50 hr.

    10/05/18      Review OES manuals and response to Ms. Myers' call;

                  C.M. SHUMADINE                         0.20 hr.

    10/05/18      Email from Mr. Prince re: Mr. Schaefer's unavailability

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                  for depositions on November 6 and raising questions
                  about other depositions;

                  C.M. SHUMADINE                         0.10 hr.

    10/06/18      Email from and to Mr. Hibsher and follow-up email
                  re: telephone call with Ms. Myers from the Virginia
                  Attorney General's Office;

                  C.M. SHUMADINE                         0.10 hr.

    10/07/18      Email to Mr. Hibsher, et al., re: arrangements for
                  depositions requested by Mr. Prince;

                  C.M. SHUMADINE                         0.10 hr.

    10/07/18      Email from Ms. Goldman re: conference call with
                  Ms. Myers and prepare for conference call with Ms. Myers;

                  C.M. SHUMADINE                         0.30 hr.

    10/08/18      Prepare for conference call re: telephone call from Ms. Myers
                  of Attorney General's Office re: OES and conference call
                  with Mr. Hibsher, Mr. Harrison and Ms. Goldman;

                  C.M. SHUMADINE                         0.40 hr.

    10/08/18      Email from and to Mr. Harrison re: issues regarding
                  follow-up to Ms. Myers' call;

                  C.M. SHUMADINE                         0.20 hr.

    10/08/18      Review email from Mr. Prince and draft protective
                  order and email to Mr. Hibsher, et al., re: observations
                  regarding the protective order;

                  C.M. SHUMADINE                         0.30 hr.

    10/09/18      Email from Mr. Prince with revisions to proposed
                  settlement agreement for Mr. Schaefer;

                  C.M. SHUMADINE                         0.30 hr.

    10/09/18      Email from and to Ms. Goldman re: draft of
                  protective order;


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                  C.M. SHUMADINE                        0.20 hr.

    10/09/18      Email from Ms. Goldman re: discovery and arrange
                  conference rooms for Ms. Goldman to take depositions;

                  C.M. SHUMADINE                        0.20 hr.

    10/09/18      Email re: further contact with Ms. Myers;

                  C.M. SHUMADINE                        0.10 hr.

    10/09/18      Email to and from Mr. Harrison re: interview with
                  Ms. Myers;

                  C.M. SHUMADINE                        0.20 hr.

    10/09/18      Review OES manual and declarations of clerks;

                  C.M. SHUMADINE                        0.30 hr.

    10/10/18      Review email from Mr. Prince and reply re:
                  protective order;

                  C.M. SHUMADINE                        0.20 hr.

    10/10/18      Email from Mr. Hibsher granting Mr. Prince an
                  extension for responding to discovery;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/18      Email from Ms. Goldman re: questions concerning
                  procedure in light of the absence of a Rule 16(b) conference;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/18      Telephone conference with Ms. Goldman re: her
                  questions regarding procedure and discovery;

                  C.M. SHUMADINE                        0.30 hr.

    10/10/18      Email from Ms. Goldman to Mr. Prince and from
                  Mr. Prince to Ms. Goldman re: conference on discovery
                  and re: issues regarding the protective order;

                  C.M. SHUMADINE                        0.10 hr.



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    10/11/18      Email from Ms. Goldman re: discovery issues;

                  C.M. SHUMADINE                       0.10 hr.

    10/11/18      Email from Mr. Harrison re: issues re: summary
                  judgment filing and review prior filings;

                  C.M. SHUMADINE                       0.40 hr.

    10/12/18      Email to Ms. Myers re: telephone call re:
                  obtaining information from the OES;

                  C.M. SHUMADINE                       0.10 hr.

    10/12/18      Email to Ms. Goldman and Mr. Harrison with
                  draft motions and briefs regarding summary judgment;

                  C.M. SHUMADINE                       0.10 hr.

    10/12/18      Follow-up email from and to Mr. Harrison and
                  Ms. Goldman re: statement of undisputed facts;

                  C.M. SHUMADINE                       0.20 hr.

    10/12/18      Email from Mr. Prince and review of discovery
                  proposed by Mr. Prince;

                  C.M. SHUMADINE                       0.40 hr.

    10/12/18      Email from and to Mr. Harrison re: location of
                  local experts and consider local experts;

                  C.M. SHUMADINE                       0.20 hr.

    10/12/18      Email from and to Ms. Myers and Mr. Harrison
                  re: telephone call with Ms. Myers re: the OES;

                  C.M. SHUMADINE                       0.10 hr.

    10/15/18      Email to Mr. Hibsher responding to his email;

                  C.M. SHUMADINE                       0.10 hr.

    10/15/18      Email from Ms. Goldman to Mr. Prince re: discovery;

                  C.M. SHUMADINE                       0.10 hr.


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    10/15/18      Follow-up telephone call from Mr. Corbin re: his
                  questions after reading the Complaint;

                  C.M. SHUMADINE                        0.20 hr.

    10/16/18      Email from and to Mr. Harrison re: call with Ms. Myers;

                  C.M. SHUMADINE                        0.10 hr.

    10/16/18      Email to and from Ms. Myers;

                  C.M. SHUMADINE                        0.10 hr.

    10/16/18      Email from Ms. Goldman re: protective order and
                  review of protective order;

                  C.M. SHUMADINE                        0.10 hr.

    10/16/18      Email to Ms. Goldman re: issues regarding the protective
                  order;

                  C.M. SHUMADINE                        0.10 hr.

    10/16/18      Conference call with Ms. Goldman and Mr. Harrison re:
                  protective order and other issues in case;

                  C.M. SHUMADINE                        0.80 hr.

    10/16/18      Revise draft protective order and email revisions
                  to Ms. Goldman;

                  C.M. SHUMADINE                        0.50 hr.

    10/16/18      Prepare for and participate in call with Ms. Myers,
                  OES personnel, and Mr. Harrison;

                  C.M. SHUMADINE                        0.70 hr.

    10/16/18      Follow-up telephone call to Mr. Harrison re:
                  call with OES personnel and Ms. Myers;

                  C.M. SHUMADINE                        0.20 hr.

    10/17/18      Voicemail and telephone conference with Ms.
                  DeBene at Federal Court Clerk's Office;



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                  C.M. SHUMADINE                          0.20 hr.

    10/17/18      Email to Mr. Hibsher, et al., re: call and the
                  provision of instant access by November 1;

                  C.M. SHUMADINE                          0.10 hr.

    10/17/18      Email from Mr. Harrison re: OES declaration;

                  C.M. SHUMADINE                          0.10 hr.

    10/17/18      Analyze issues regarding the OES declaration
                  and email to Mr. Harrison;

                  C.M. SHUMADINE                          0.20 hr.

    10/17/18      Email from and to Ms. Goldman re: deadlines
                  falling on weekends or holidays under the local rules;

                  C.M. SHUMADINE                          0.10 hr.

    10/17/18      Review summary of discussion with Mr. Prince and email
                  to Ms. Goldman re: issues raised by the summary she prepared;

                  C.M. SHUMADINE                          0.20 hr.

    10/17/18      Review email from Ms. Goldman to Mr. Prince re: her
                  discussion;

                  C.M. SHUMADINE                          0.10 hr.

    10/18/18      Email from and to Ms. Goldman re: depositions;

                  C.M. SHUMADINE                          0.40 hr.

    10/18/18      Telephone call to Ms. Myers' office;

                  C.M. SHUMADINE                          1.00 hr.

    10/18/18      Email from Mr. Prince and review supplemental initial
                  disclosure;

                  C.M. SHUMADINE                          0.10 hr.

    10/18/18      Email from Mr. Prince re: protective order;



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                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Email from Ms. Goldman to Mr. Prince re: protective
                  order and discovery;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Email from Mr. Prince with revised Protective Order and
                  review of revised Protective Order;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Telephone conference with Ms. Myers re: the
                  OES's position and re: its willingness to assist;

                  C.M. SHUMADINE                         0.20 hr.

    10/19/18      Telephone conference with Mr. Harrison re: Ms. Myers'
                  call and her request that any declaration be drafted by us;

                  C.M. SHUMADINE                         0.20 hr.

    10/19/18      Email from Mr. Hibsher re: protective order;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Review email from Mr. Harrison to Mr. Hibsher and
                  response;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Telephone conference with Mr. Hibsher re: protective
                  order;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Email from Mr. Prince with revised protective order
                  and review revised protective order;

                  C.M. SHUMADINE                         0.10 hr.

    10/19/18      Email from Mr. Hibsher approving form of protective
                  order and email to Mr. Prince providing permission for
                  him to file the approved protective order;

                  C.M. SHUMADINE                         0.10 hr.


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    10/20/18      Review email from Mr. Prince and responses of clerks
                  to discovery;

                  C.M. SHUMADINE                       0.40 hr.

    10/20/18      Review email from Mr. Girdner and response to
                  Mr. Hibsher;

                  C.M. SHUMADINE                       0.10 hr.

    10/22/18      Email from Ms. Goldman with outline of clerk's
                  discovery deficiencies;

                  C.M. SHUMADINE                       0.20 hr.

    10/22/18      Email to Ms. Goldman with reactions and thoughts
                  regarding the discovery responses;

                  C.M. SHUMADINE                       0.10 hr.

    10/23/18      Review email from Mr. Prince with motion for entry
                  of protective order, review attachment and send email
                  to Mr. Prince approving filing of the motion;

                  C.M. SHUMADINE                       0.20 hr.

    10/23/18      Email from Ms. Goldman re: discovery issues;

                  C.M. SHUMADINE                       0.10 hr.

    10/23/18      Email from Ms. Cochran with supplemental
                  production of documents from the clerks;

                  C.M. SHUMADINE                       0.20 hr.

    10/24/18      Email from Ms. Goldman with draft letter to
                  Mr. Prince re: discovery responses;

                  C.M. SHUMADINE                       0.20 hr.

    10/24/18      Email to Ms. Goldman re: letter and cancelling
                  of depositions;

                  C.M. SHUMADINE                       0.10 hr.

    10/24/18      Email from Ms. Aronholt with deposition notices;


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                  C.M. SHUMADINE                         0.10 hr.

    10/24/18      Review notice of new procedures in the Eastern
                  District of Virginia clerk's office and forward to
                  Mr. Hibsher, et al.;

                  C.M. SHUMADINE                         0.20 hr.

    10/25/18      Review email to Ms. Goldman, Mr. Prince, and
                  letter outlining discovery issues;

                  C.M. SHUMADINE                         0.20 hr.

    10/25/18      Review email from Ms. Goldman re: motion to
                  compel and re: briefing schedule and review attachments;

                  C.M. SHUMADINE                         0.20 hr.

    10/25/18      Prepare email responding to Ms. Goldman's request for
                  advice;

                  C.M. SHUMADINE                         0.10 hr.

    10/25/18      Email from Mr. Prince re: discovery issues;

                  C.M. SHUMADINE                         0.10 hr.

    10/25/18      Email to Ms. Goldman with draft of motion to compel
                  and brief in support in prior action;

                  C.M. SHUMADINE                         0.10 hr.

    10/29/18      Email from Ms. Goldman with proposed objections;

                  C.M. SHUMADINE                         0.10 hr.

    10/29/18      Review objections and email to Ms. Goldman;

                  C.M. SHUMADINE                         0.30 hr.

    10/29/18      Email from Ms. Goldman re: final version of objections;

                  C.M. SHUMADINE                         0.10 hr.

    10/30/18      Email from Mr. Prince with letter re: discovery
                  and review of letter;


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                  C.M. SHUMADINE                       0.20 hr.

    10/30/18      Voicemail and telephone conference with Mr. Hibsher
                  re: deadlines in light of lack of scheduling order;

                  C.M. SHUMADINE                       0.10 hr.

    10/30/18      Conference call with Mr. Hibsher, Mr. Harrison and
                  Ms. Goldman re: deadlines, experts and local rules;

                  C.M. SHUMADINE                       0.30 hr.

    10/30/18      Email from Mr. Prince removing confidentiality
                  designation for a specific document;

                  C.M. SHUMADINE                       0.10 hr.

    10/31/18      Review entry of agreed protective order and email
                  from Mr. Hibsher to Mr. Prince re: depositions;

                  C.M. SHUMADINE                       0.10 hr.

    10/31/18      Review clerks' discovery responses re: expert
                  witness testimony;

                  C.M. SHUMADINE                       0.30 hr.

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    C.M. SHUMADINE:                     22.40 hrs. @ $450/hr.               $ 10,080.00

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    11/01/18      Email from Ms. Goldman re: expert testimony with
                  attachments and review of attachments;

                  C.M. SHUMADINE                       0.30 hr.

    11/01/18      Email from Ms. Goldman and Mr. Prince re:
                  rescheduling depositions set for November;

                  C.M. SHUMADINE                       0.10 hr.

    11/02/18      Email to Ms. Goldman with draft 30(b)(6) notice
                  and review of notice;

                  C.M. SHUMADINE                       0.30 hr.

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    11/02/18      Respond to Ms. Goldman re: issues re: 30(b)(6)
                  notice and depositions;

                  C.M. SHUMADINE                      0.20 hr.

    11/02/18      Email to Ms. Goldman re: expert testimony;

                  C.M. SHUMADINE                      0.10 hr.

    11/05/18      Review declarations of Mr. Schaefer and Ms. Smith
                  re: OES position and manuals;

                  C.M. SHUMADINE                      0.40 hr.

    11/06/18      Email from Mr. Prince to Ms. Goldman re: narrowing
                  scope of request and response from Ms. Goldman;

                  C.M. SHUMADINE                      0.10 hr.

    11/06/18      Email from Ms. Goldman re: scheduling depositions;

                  C.M. SHUMADINE                      0.10 hr.

    11/06/18      Email from Mr. Prince and response from Mr. Hibsher
                  re: extension of time to respond to discovery;

                  C.M. SHUMADINE                      0.10 hr.

    11/06/18      Conference call with Mr. Hibsher and Ms. Goldman
                  re: OES and discovery issues;

                  C.M. SHUMADINE                      0.20 hr.

    11/06/18      Email from and to Ms. Goldman re: 30(b)(6) proposed
                  notice;

                  C.M. SHUMADINE                      0.10 hr.

    11/06/18      Arrange for court reporter for depositions on November
                  28 and 29;

                  C.M. SHUMADINE                      0.10 hr.

    11/06/18      Email from Mr. Prince re: lack of agreement to document
                  requests;

                  C.M. SHUMADINE                      0.10 hr.

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    11/06/18      Email from Ms. Goldman re: search of documents in
                  our files that might be responsive to discovery;

                  C.M. SHUMADINE                       0.10 hr.

    11/06/18      Office conference with Ms. Yoder re: search of emails
                  and other documents to respond to discovery;

                  C.M. SHUMADINE                       0.20 hr.

    11/06/18      Email from Ms. Goldman to Mr. Prince with notices
                  and email from Ms. Goldman to Ms. McCloud with
                  notices for depositions;

                  C.M. SHUMADINE                       0.10 hr.

    11/06/18      Coordinate with Mr. Shumadine on searching Outlook
                  emails responsive to the document production and
                  coordinate with Ms. Martinez on exporting the same
                  as pst files;

                  P. YODER                             0.50 hr.

    11/07/18      Preliminary review of documents located by Ms. Yoder;

                  C.M. SHUMADINE                       0.10 hr.

    11/07/18      Email from Mr. Hibsher re: Rule 16(b) conference and
                  email from Ms. Baxter re: dates for conference;

                  C.M. SHUMADINE                       0.70 hr.

    11/07/18      Email from Mr. Prince and Mr. Harrison re: Rule 16(b)
                  conference;

                  C.M. SHUMADINE                       0.40 hr.

    11/07/18      Email to and from Ms. Goldman re: document search
                  conducted by Ms. Yoder;

                  C.M. SHUMADINE                       0.10 hr.

    11/07/18      Telephone conference with Mr. Harrison re: issues
                  re: Rule 16(b) conference;


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                  C.M. SHUMADINE                         0.10 hr.

    11/07/18      Email to Ms. Baxter re: Rule 16(b) conference;

                  C.M. SHUMADINE                         0.40 hr.

    11/07/18      Follow-up emails re: scheduling;

                  C.M. SHUMADINE                         0.10 hr.

    11/07/18      Email from Mr. Prince with 30(b)(6) topics and
                  review and analyze topics selected;

                  C.M. SHUMADINE                         0.20 hr.

    11/07/18      Office conference with Ms. Yoder re: document
                  review of emails relating to the case with third parties;

                  C.M. SHUMADINE                         0.10 hr.

    11/07/18      Review Mr. Shumadine's Outlook email folder to
                  locate, gather and copy all responsive emails to the
                  document production request of Ms. Goldman;

                  P. YODER                               1.20 hr.

    11/08/18      Voicemail from Mr. Prince and email from Mr. Harrison
                  re: Rule 16(b) conference;

                  C.M. SHUMADINE                         0.10 hr.

    11/08/18      Email to Ms. Baxter confirming date and time for
                  Rule 16(b) conference;

                  C.M. SHUMADINE                         0.10 hr.

    11/08/18      Telephone conference with Mr. Corbin re: expert
                  testimony and his decision not to be an expert witness;

                  C.M. SHUMADINE                         0.20 hr.

    11/08/18      Email to and from Mr. Hibsher, et al., re: Mr. Corbin's
                  decision and locating an additional expert;

                  C.M. SHUMADINE                         0.10 hr.


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    11/08/18      Analyze possible additional experts and email to
                  Mr. Hibsher;

                  C.M. SHUMADINE                          0.30 hr.

    11/08/18      Review docket entries and email to and from
                  Mr. Harrison re: errors in scheduling;

                  C.M. SHUMADINE                          0.10 hr.

    11/08/18      Email from Ms. Goldman re: Rule 16(b) conference and
                  voicemail to Ms. Baxter re: Rule 16(b) conference;

                  C.M. SHUMADINE                          0.10 hr.

    11/09/18      Review docket entry and email from Ms. Baxter and
                  email to Ms. Goldman re: Rule 16(b) conference;

                  C.M. SHUMADINE                          0.10 hr.

    11/09/18      Email from Ms. Corcoran with additional documents
                  and preliminary review of documents;

                  C.M. SHUMADINE                          0.20 hr.

    11/09/18      Office conference with Mr. Giordano re: Bob
                  Salter's possible service as an expert witness;

                  C.M. SHUMADINE                          0.20 hr.

    11/09/18      Telephone conference with Mr. Salter re: his
                  possible expert testimony;

                  C.M. SHUMADINE                          0.30 hr.

    11/09/18      Email to Mr. Salter re: conversation;

                  C.M. SHUMADINE                          0.10 hr.

    11/09/18      Follow-up telephone call from Mr. Salter with
                  questions regarding his expert testimony;

                  C.M. SHUMADINE                          0.10 hr.

    11/09/18      Email to and from Mr. Hibsher re: Mr. Salter's
                  possible service;

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                  C.M. SHUMADINE                         0.10 hr.

    11/09/18      Additional email from and to Mr. Hibsher and arrange
                  for conference call with Mr. Salter at 10:00 a.m. on Monday;

                  C.M. SHUMADINE                         0.50 hr.

    11/09/18      Additional review of documents located by Ms. Yoder
                  and email to Ms. Goldman re: transmitting the
                  documents in the form requested;

                  C.M. SHUMADINE                         0.20 hr.

    11/09/18      Assist Mr. Shumadine with gathering emails in
                  pst format to forward to Ms. Goldman;

                  P. YODER                               0.30 hr.

    11/12/18      Gather responsive emails and correspondence and
                  organize within an electronic folder in pst format
                  and forward same to Ms. Goldman for production;

                  P. YODER                               0.80 hr.

    11/13/18      Email from and to Ms. Goldman re: objection
                  to 30(b)(6) topics;

                  C.M. SHUMADINE                         0.50 hr.

    11/13/18      Review email from Ms. Goldman re: documents
                  relating to paper filed complaint and response from
                  Mr. Prince;

                  C.M. SHUMADINE                         0.10 hr.

    11/14/18      Email from Ms. Goldman re: 7th Circuit decision
                  and re: local practice re: advising the court of new
                  authority;

                  C.M. SHUMADINE                         0.10 hr.

    11/14/18      Response to Ms. Goldman re: providing new authority
                  to the Court;

                  C.M. SHUMADINE                         0.10 hr.


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    11/14/18      Email from Mr. Prince re: 30(b)(6) designations;

                  C.M. SHUMADINE                       0.10 hr.

    11/14/18      Follow-up email from Ms. Goldman and reply re:
                  ED Va. Clerk's Office;

                  C.M. SHUMADINE                       0.10 hr.

    11/14/18      Email from Ms. Cochran with additional document
                  production;

                  C.M. SHUMADINE                       0.20 hr.

    11/14/18      Review follow-up production of additional documents
                  by Mr. Prince;

                  C.M. SHUMADINE                       0.20 hr.

    11/15/18      Email from Ms. Goldman re: access in the Eastern District
                  of Virginia;

                  C.M. SHUMADINE                       0.10 hr.

    11/15/18      Research issues of access raised by Ms. Goldman and
                  email to all litigators;

                  C.M. SHUMADINE                       0.30 hr.

    11/15/18      Email from and to Ms. Goldman re: deposition logistics;

                  C.M. SHUMADINE                       0.20 hr.

    11/15/18      Email from Mr. Harrison re: subpoenas;

                  C.M. SHUMADINE                       0.10 hr.

    11/16/18      Telephone conference with Ms. Myers re: OES deposition;

                  C.M. SHUMADINE                       0.20 hr.

    11/16/18      Email to Mr. Harrison re: telephone call with Ms. Myers
                  re: OES deposition;

                  C.M. SHUMADINE                       0.10 hr.

    11/16/18      Review subpoena and forms re: OES 30(b)(6) deposition

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                  and document request;

                  C.M. SHUMADINE                         0.30 hr.

    11/16/18      Email to Mr. Harrison re: forms and 30(b)(6) notice and
                  document requests;

                  C.M. SHUMADINE                         0.10 hr.

    11/16/18      Follow-up emails re: service on OES;

                  C.M. SHUMADINE                         0.30 hr.

    11/16/18      Review code re: service on OES to determine who can
                  accept service;

                  C.M. SHUMADINE                         0.20 hr.

    11/16/18      Review email from Ms. Goldman to Mr. Prince re:
                  discovery and the attachments to Ms. Goldman's email;

                  C.M. SHUMADINE                         0.10 hr.

    11/16/18      Receipt and review of a subpoena duces tecum from
                  Mr. Harrison and coordinate with Mr. Shumadine and
                  Ms. McCloud on revisions needed to same;

                  P. YODER                               0.50 hr.

    11/18/18      Email responding to Mr. Harrison re: subpoena to OES
                  and 30(b)(6) deposition to OES;

                  C.M. SHUMADINE                         0.10 hr.

    11/18/18      Email from and to Ms. Goldman re: telephone calls
                  with Mr. Larson;

                  C.M. SHUMADINE                         0.30 hr.

    11/18/18      Follow-up email from and to Mr. Harrison re: OES
                  30(b)(6) deposition and document requests;

                  C.M. SHUMADINE                         0.10 hr.

    11/19/18      Email from Mr. Harrison re: call to Ms. Myers;



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                  C.M. SHUMADINE                        0.10 hr.

    11/19/18      Email from Ms. Goldman and review of draft
                  discovery responses on behalf of Courthouse News;

                  C.M. SHUMADINE                        0.50 hr.

    11/19/18      Email from and to Mr. Hibsher re: Rule 16(b)
                  conference and use of experts and follow-up email;

                  C.M. SHUMADINE                        0.20 hr.

    11/19/18      Telephone conference with Ms. Myers re: scheduling
                  issues;

                  C.M. SHUMADINE                        0.30 hr.

    11/19/18      Email from and to Ms. Goldman re: scheduling;

                  C.M. SHUMADINE                        0.10 hr.

    11/19/18      Email from Mr. Prince and Mr. Hibsher re:
                  scheduling and response;

                  C.M. SHUMADINE                        0.10 hr.

    11/19/18      Review Rule 26 and Rule 16 re: conference call;

                  C.M. SHUMADINE                        0.20 hr.

    11/20/18      Prepare for conference call re: Rule 16 issues;

                  C.M. SHUMADINE                        0.20 hr.

    11/20/18      Conference call with Mr. Hibsher, Mr. Harrison
                  and Ms. Goldman re: Rule 16(b) conference and
                  OES subpoena and expert testimony;

                  C.M. SHUMADINE                        0.40 hr.

    11/20/18      Email from Mr. Hibsher re: E.D. Va. procedures;

                  C.M. SHUMADINE                        0.10 hr.

    11/20/18      Review and analyze issues re: the OES and OES
                  depositions;


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                  C.M. SHUMADINE                        0.20 hr.

    11/21/18      Email from Ms. Myers re: OES deposition and review
                  schedule;

                  C.M. SHUMADINE                        0.10 hr.

    11/21/18      Email to and from Mr. Hibsher re: schedule;

                  C.M. SHUMADINE                        0.10 hr.

    11/21/18      Review email to Mr. Harrison and Ms. Myers;

                  C.M. SHUMADINE                        0.10 hr.

    11/26/18      Email to Mr. Hibsher, et al., re: Rule 16(b) conference
                  and response from Mr. Harrison;

                  C.M. SHUMADINE                        0.10 hr.

    11/26/18      Follow-up email from Ms. Goldman and Mr.
                  Harrison re: conference and other issues relating
                  to prosecution of the case;

                  C.M. SHUMADINE                        0.40 hr.

    11/26/18      Email from Mr. Prince with additional documents
                  and brief review of documents;

                  C.M. SHUMADINE                        0.10 hr.

    11/26/18      Email from Mr. Prince re: depositions and schedules;

                  C.M. SHUMADINE                        0.10 hr.

    11/26/18      Brief additional review of documents produced by
                  the clerks;

                  C.M. SHUMADINE                        0.20 hr.

    11/26/18      Review email from Ms. Goldman re: depositions;

                  C.M. SHUMADINE                        0.10 hr.

    11/26/18      Review response from Mr. Prince re: depositions;

                  C.M. SHUMADINE                        0.10 hr.

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    11/26/18      Email from Mr. Prince with supplemental answers and
                  review of supplemental answers;

                  C.M. SHUMADINE                        0.20 hr.

    11/26/18      Email from Mr. Harrison re: Hennessey's deposition;

                  C.M. SHUMADINE                        0.10 hr.

    11/27/18      Email from and to Mr. Harrison re: logistics for deposition;

                  C.M. SHUMADINE                        0.20 hr.

    11/27/18      Email from Ms. Goldman re: Rule 16(b) conference;

                  C.M. SHUMADINE                        0.10 hr.

    11/27/18      Meeting with Ms. Goldman and attend Rule 16(b)
                  conference at federal court and discuss Rule 16(b)
                  conference with Ms. Goldman;

                  C.M. SHUMADINE                        1.20 hr.

    11/27/18      Meeting with Mr. Hibsher and Ms. Goldman to
                  discuss case and logistics and how to proceed;

                  C.M. SHUMADINE                        0.80 hr.

    11/27/18      Telephone conference with Mr. Harrison re: OES
                  subpoena and possibility of expediting documents;

                  C.M. SHUMADINE                        0.20 hr.

    11/27/18      Email from Mr. Harrison to Ms. Myers re: OES
                  document and response from Ms. Myers;

                  C.M. SHUMADINE                        0.10 hr.

    11/28/18      Review emails re: CNS document production;

                  C.M. SHUMADINE                        0.10 hr.

    11/28/18      Office conference with Mr. Hibsher and Ms. Goldman
                  and participate in conference call with Ms.
                  Matteo-Boehm re: depositions;


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                  C.M. SHUMADINE                         0.30 hr.

    11/29/18      Review additional documents produced by CNS;

                  C.M. SHUMADINE                         0.20 hr.

    11/29/18      Meeting with Mr. Harrison and Ms. Goldman and
                  discussion of progress of deposition;

                  C.M. SHUMADINE                         0.20 hr.

    11/30/18      Email from and to Mr. Harrison re: deposition schedule;

                  C.M. SHUMADINE                         0.10 hr.

                                 November 2018 Summary of Fees

                                Hours          Rate/Hr          Amount

    C.M. SHUMADINE              19.10          450.00           8,595.00
    P. YODER                     3.30          155.00             511.50
                                22.40                           9,106.50

    November 2018 Fees for Professional Services                               $ 9,106.50

                            *      *       *      *        *        *      *

    12/10/18      Email from Ms. Goldman re: depositions;

                  C.M. SHUMADINE                         0.10 hr.

    12/10/18      Email to Mr. Harrison re: OES deposition logistics;

                  C.M. SHUMADINE                         0.10 hr.

    12/10/18      Arrange for court reporter and conference rooms
                  for additional depositions;

                  C.M. SHUMADINE                         0.10 hr.

    12/11/18      Review email from Mr. Harrison to Ms. Myers re:
                  OES deposition;

                  C.M. SHUMADINE                         0.10 hr.

    12/11/18      Review email from Ms. Goldman re: OES depositions
                  and depositions generally;


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                  C.M. SHUMADINE                        0.10 hr.

    12/11/18      Emails re: logistics of handling the scheduled depositions;

                  C.M. SHUMADINE                        0.10 hr.

    12/14/18      Email from Ms. Myers and preliminary review of
                  OES documents;

                  C.M. SHUMADINE                        0.20 hr.

    12/17/18      Email from Ms. Goldman and Mr. Harrison re:
                  OES deposition;

                  C.M. SHUMADINE                        0.10 hr.

    12/20/18      Telephone conference with Mr. Hibsher re: OES
                  deposition;

                  C.M. SHUMADINE                        0.30 hr.

    12/20/18      Email from Ms. Goldman and brief review of transcripts;

                  C.M. SHUMADINE                        0.20 hr.

    12/21/18      Email from Ms. Aronhalt with letter from Mr. Prince
                  and notices of depositions;

                  C.M. SHUMADINE                       0.10 hr.

                                 December 2018 Summary of Fees

    C.M. SHUMADINE:                     1.50 hrs. @ $450/hr.                    $   675.00

                            *       *      *       *      *        *      *

    01/03/19      Email from Ms. Goldman to Mr. Prince re: Manassas
                  deposition and review file;

                  C.M. SHUMADINE                        0.10 hr.

    01/04/19      Email from Mr. Prince re: deposition and response
                  from Ms. Goldman;

                  C.M. SHUMADINE                        0.10 hr.

    01/04/19      Review email from Ms. Goldman and second request

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                  for production of documents to George Schaefer;

                  C.M. SHUMADINE                        0.10 hr.

    01/10/19      Telephone conference with Mr. Hibsher re: OES
                  testimony and possible motion re: testimony;

                  C.M. SHUMADINE                        0.30 hr.

    01/10/19      Analyze issues raised in call with Mr. Hibsher to
                  determine the best way to proceed before the Court;

                  C.M. SHUMADINE                        0.20 hr.

    01/14/19      Email from Ms. Goldman to Mr. Prince re:
                  additional depositions and analyze additional depositions;

                  C.M. SHUMADINE                        0.10 hr.

    01/14/19      Email re: party witnesses and review law and order and
                  local rules and follow-up email from Ms. Goldman re: issue;

                  C.M. SHUMADINE                        0.20 hr.

    01/15/19      Email from Ms. Goldman re: motion to supplement
                  record and briefing in response;

                  C.M. SHUMADINE                        0.10 hr.

    01/15/19      Follow-up emails re: Friday filing;

                  C.M. SHUMADINE                        0.20 hr.

    01/17/19      Email from Mr. Harrison and review question re:
                  contention interrogatories;

                  C.M. SHUMADINE                        0.10 hr.

    01/17/19      Email responding to Mr. Harrison regarding contention
                  interrogatories and expert disclosures;

                  C.M. SHUMADINE                        0.10 hr.

    01/17/19      Email from Ms. Goldman and review draft motion
                  to supplement and brief in support;


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                  C.M. SHUMADINE                        0.20 hr.

    01/17/19      Email to Ms. Goldman re: comments;

                  C.M. SHUMADINE                        0.20 hr.

    01/18/19      Email from Mr. Harrison with additional questions
                  re: contention interrogatories and reply;

                  C.M. SHUMADINE                        0.10 hr.

    01/18/19      Review and file motion to supplement and brief in support;

                  C.M. SHUMADINE                        0.30 hr.

    01/18/19      Email re: transcript errors and how to respond;

                  C.M. SHUMADINE                        0.20 hr.

    01/22/19      Review email from Ms. Aronholt with letter from
                  Mr. Prince and objection filed by Mr. Schaefer;

                  C.M. SHUMADINE                        0.20 hr.

    01/22/19      Email from and to Ms. Goldman re: standing order
                  and effect on case;

                  C.M. SHUMADINE                        0.20 hr.

    01/23/19      Email from Ms. Goldman to Mr. Prince re: objections;

                  C.M. SHUMADINE                        0.10 hr.

    01/24/19      Email from Mr. Hibsher with proposed expert stipulation
                  and review expert stipulation;

                  C.M. SHUMADINE                        0.20 hr.

    01/25/19      Email from Mr. Prince and Mr. Hibsher re: call re:
                  objections and brief review of objections;

                  C.M. SHUMADINE                        0.10 hr.

    01/28/19      Email from Ms. Baxter re: hearing on motion to dismiss
                  and motion to supplement record;



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                  C.M. SHUMADINE                          0.10 hr.

    01/28/19      Email from and to Mr. Hibsher and email from
                  Mr. Prince re: dates;

                  C.M. SHUMADINE                          0.10 hr.

    01/28/19      Emails re: filing and revision and filing of brief in
                  opposition to motion to transfer;

                  C.M. SHUMADINE                          0.70 hr.

    01/29/19      Email from Mr. Hibsher to Ms. Baxter and telephone
                  call from Ms. Baxter;

                  C.M. SHUMADINE                          0.20 hr.

    01/29/19      Telephone conference with Mr. Hibsher re: issues in
                  motions to dismiss;

                  C.M. SHUMADINE                          0.20 hr.

    01/29/19      Email from and to Mr. Harrison re: deposition logistics;

                  C.M. SHUMADINE                          0.20 hr.

    01/29/19      Review expert disclosure forms and send to Ms. Goldman;

                  C.M. SHUMADINE                          0.10 hr.

    01/30/19      Email from Mr. Hibsher re: discovery;

                  C.M. SHUMADINE                          0.10 hr.

                                   January 2019 Summary of Fees

    C.M. SHUMADINE:                      5.10 hrs. @ $450/hr.                   $ 2,295.00


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    02/01/19      Review motion to dismiss and memorandum in support
                  filed by clerks;

                  C.M. SHUMADINE                          0.30 hr.

    02/01/19      Email from Ms. Goldman re: abstention and motion to dismiss

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                  and response;

                  C.M. SHUMADINE                          0.10 hr.

    02/04/19      Meeting with Mr. Hibsher, Mr. Harrison and Ms. Goldman
                  re: depositions and requesting oral argument;

                  C.M. SHUMADINE                          0.30 hr.

    02/04/19      Email from Ms. Goldman re: clerks obtaining opinion
                  from Virginia Attorney General;

                  C.M. SHUMADINE                          0.20 hr.

    02/04/19      Office conference with Ms. Goldman re: abstention
                  issues and Virginia procedure;

                  C.M. SHUMADINE                          0.20 hr.

    02/05/19      Email from Ms. Goldman and response re: motion
                  for extension;

                  C.M. SHUMADINE                          0.20 hr.

    02/05/19      Office conference with Ms. Goldman re: motion for
                  extension and for hearing;

                  C.M. SHUMADINE                          0.20 hr.

    02/05/19      Additional office conference with Ms. Goldman,
                  et al., re: filing and with Mr. Hibsher re: a discussion of
                  issues regarding argument before Judge Morgan;

                  C.M. SHUMADINE                          0.20 hr.

    02/06/19      Meeting with Mr. Hibsher and Ms. Goldman re: depositions
                  and discussing with Mr. Hibsher his reaction to being in
                  Judge Morgan's court and providing suggestions for oral
                  argument before Judge Morgan;

                  C.M. SHUMADINE                          0.20 hr.

    02/06/19      Meeting with Mr. Hibsher and Ms. Goldman re: filing
                  agreed motions;

                  C.M. SHUMADINE                          0.20 hr.

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    02/06/19      Meeting with Mr. Prince re: filing agreed motions and
                  email from Mr. Prince authorizing filing;

                  C.M. SHUMADINE                        0.20 hr.

    02/06/19      Email from Mr. Harrison and review Reply re:
                  motion to supplement;

                  C.M. SHUMADINE                        0.20 hr.

    02/07/19      File consent motion for extension and request for oral
                  argument and review both;

                  C.M. SHUMADINE                        0.20 hr.

    02/07/19      Email from and to Ms. Goldman re: Reply;

                  C.M. SHUMADINE                        0.20 hr.

    02/07/19      Review and file Reply;

                  C.M. SHUMADINE                        0.20 hr.

    02/08/19      Email from Ms. Goldman re: transcript and attempt
                  to follow up with Zahn to obtain transcript expeditiously;

                  C.M. SHUMADINE                        0.10 hr.

    02/11/19      Email from Mr. Prince re: documents and response
                  from Ms. Goldman;

                  C.M. SHUMADINE                        0.10 hr.

    02/12/19      Email from Mr. Harrison with draft declaration for
                  Mr. Hibsher and respond and comment on draft declaration;

                  C.M. SHUMADINE                        0.30 hr.

    02/13/19      Email from Mr. Hibsher re: expert disclosures,
                  Attorney General opinion, and timing of motion for
                  summary judgment and analyze issues and respond to
                  Mr. Hibsher;

                  C.M. SHUMADINE                        0.40 hr.

    02/14/19      Telephone conference with Mr. Hibsher re: order,


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                  contact with Attorney General and discovery issues;

                  C.M. SHUMADINE                       0.20 hr.

    02/18/19      Email from Ms. Goldman with expert witness disclosure;

                  C.M. SHUMADINE                       0.10 hr.

    02/18/19      Review disclosure and email comments to Ms. Goldman;

                  C.M. SHUMADINE                       0.20 hr.

    02/18/19      Additional email from Ms. Goldman re: response;

                  C.M. SHUMADINE                       0.10 hr.

    02/18/19      Review draft brief opposing abstention and
                  declaration of Mr. Hibsher;

                  C.M. SHUMADINE                       0.40 hr.

    02/19/19      Continue review of draft response re: abstention;

                  C.M. SHUMADINE                       0.30 hr.

    02/19/19      Email from Mr. Prince and Mr. Hibsher re: agreed order;

                  C.M. SHUMADINE                       0.10 hr.

    02/19/19      Follow-up email from Mr. Hibsher re: agreed order
                  and re: local procedure;

                  C.M. SHUMADINE                       0.10 hr.

    02/20/19      Review email from Mr. Hibsher to Mr. Prince re: service;

                  C.M. SHUMADINE                       0.10 hr.

    02/21/19      Email from and to Ms. Goldman re: Mr. Hibsher's declaration;

                  C.M. SHUMADINE                       0.10 hr.

    02/21/19      Email from Ms. Goldman and review and file opposition
                  to motion for abstention;

                  C.M. SHUMADINE                       0.40 hr.


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    02/21/19      Follow-up email re: filing of opposition;

                  C.M. SHUMADINE                          0.10 hr.

    02/22/19      Email from Mr. Prince with motion to modify
                  Rule 16b scheduling order and agreed order;

                  C.M. SHUMADINE                          0.20 hr.

    02/22/19      Email from Mr. Prince re: filing;

                  C.M. SHUMADINE                          0.10 hr.

    02/22/19      Email from Mr. Hibsher authorizing approval of filing
                  and to Mr. Prince authorizing the filing;

                  C.M. SHUMADINE                          0.10 hr.

    02/25/19      Email from Ms. Baxter and email to Mr. Hibsher,
                  et al., re: hearing;

                  C.M. SHUMADINE                          0.10 hr.

    02/25/19      Review notice of hearing on PACER;

                  C.M. SHUMADINE                          0.10 hr.

    02/27/19      Review Ms. Smith's objections and responses;

                  C.M. SHUMADINE                          0.20 hr.

    02/28/19      Telephone conference with Mr. Hibsher re: response
                  filed by defendants and re: issues for oral argument
                  and analyze issues raised by Mr. Hibsher in light of filing;

                  C.M. SHUMADINE                          0.70 hr.

                                  February 2019 Summary of Fees

    C.M. SHUMADINE:                      7.70 hrs. @ $450/hr.                    $ 3,465.00


                            *       *       *         *     *        *     *

    03/02/19      Email from Ms. Goldman re: 30(b)(6) motions and
                  reply email from Mr. Prince;


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                  C.M. SHUMADINE                        0.10 hr.

    03/02/19      Review reply on abstention filed by clerks;

                  C.M. SHUMADINE                        0.10 hr.

    03/03/19      Continue review of response re: abstention;

                  C.M. SHUMADINE                        0.40 hr.

    03/03/19      Analyze response re: abstention and email to Mr. Hibsher,
                  et al., with thoughts re: argument of abstention issue;

                  C.M. SHUMADINE                        0.40 hr.

    03/05/19      Email from Mr. Hibsher re: 30(b)(6) deposition and
                  privilege log;

                  C.M. SHUMADINE                        0.10 hr.

    03/05/19      Email from and to Mr. Harrison re: local practice re:
                  summary judgment briefing;

                  C.M. SHUMADINE                        0.20 hr.

    03/06/19      Email from Mr. Hibsher to Mr. Prince re: 30(b)(6)
                  deposition and response from Mr. Prince;

                  C.M. SHUMADINE                        0.10 hr.

    03/07/19      Email from Mr. Hibsher to Mr. Prince re: Rule 23(c)
                  conference;

                  C.M. SHUMADINE                        0.10 hr.

    03/07/19      Email from Mr. Prince responding and review
                  file re: 23(c) conference;

                  C.M. SHUMADINE                        0.10 hr.

    03/08/19      Emails from Ms. Goldman with discovery to defendants;

                  C.M. SHUMADINE                        0.20 hr.

    03/08/19      Email from Ms. Aronhalt re: depositions;



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                  C.M. SHUMADINE                        0.10 hr.

    03/08/19      Email from Mr. Prince and Mr. Hibsher re: scheduling;

                  C.M. SHUMADINE                        0.10 hr.

    03/13/19      Appearance before Judge Morgan re: hearing on
                  motion to dismiss and post-hearing discussion of the hearing;

                  C.M. SHUMADINE                        3.10 hr.

    03/13/19      Review file and analyze issues re: Judge Morgan's ruling
                  re: Mr. Girdner's questions;

                  C.M. SHUMADINE                        0.40 hr.

    03/14/19      Review ruling on PACER;

                  C.M. SHUMADINE                        0.10 hr.

    03/14/19      Review email from Ms. Aronhalt and Mr. Schaefer's
                  second set of interrogatories to CNS;

                  C.M. SHUMADINE                        0.10 hr.

    03/15/19      Voicemail and telephone conference with Mr. Girdner
                  re: issues in case and reactions to court's comments and rulings;

                  C.M. SHUMADINE                        0.40 hr.

    03/15/19      Review file re: questions discussed with Mr. Girdner to be
                  prepared for follow-up conversation;

                  C.M. SHUMADINE                        0.20 hr.

    03/16/19      Email from Mr. Girdner and review of file re: Mr. Girdner's
                  email;

                  C.M. SHUMADINE                        0.10 hr.

    03/17/19      Email from Mr. Girdner with his notes and email from
                  and to Mr. Hibsher re: telephone call;

                  C.M. SHUMADINE                        0.30 hr.

    03/17/19      Review and analyze transcript of argument provided by

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                  Mr. Girdner;

                  C.M. SHUMADINE                        0.30 hr.

    03/17/19      Follow-up email from and to Mr. Hibsher re: transcript
                  and Mr. Girdner's comments;

                  C.M. SHUMADINE                        0.10 hr.

    03/18/19      Review transcript of hearing before Judge Morgan
                  and prepare for telephone call with Mr. Hibsher;

                  C.M. SHUMADINE                        0.50 hr.

    03/18/19      Telephone conference with Mr. Hibsher re: hearing
                  before Judge Morgan and issues raised by hearing;

                  C.M. SHUMADINE                        0.40 hr.

    03/18/19      Conference call with Mr. Girdner, Mr. Hibsher, et al.,
                  re: the hearing and future actions in the litigation;

                  C.M. SHUMADINE                        0.80 hr.

    03/19/19      Telephone conference with Ms. Goldman re: expert
                  report and email transmitting expert report;

                  C.M. SHUMADINE                        0.10 hr.

    03/19/19      Review email from Ms. Goldman re: expert report
                  and review report and respond to Ms. Goldman's
                  questions re: report;

                  C.M. SHUMADINE                        0.20 hr.

    03/19/19      Review opinion and order entered by Judge Morgan;

                  C.M. SHUMADINE                        0.20 hr.

    03/19/19      Email from Mr. Girdner and email from Ms.
                  Matteo-Boehm re: Judge Morgan's opinion and order;

                  C.M. SHUMADINE                        0.40 hr.

    03/23/19      Email from and to Mr. Hibsher re: proposal for
                  expert discovery extension;

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                  C.M. SHUMADINE                         0.10 hr.

    03/24/19      Email from and to Ms. Goldman re: motion for summary
                  judgment order and issues regarding summary judgment;

                  C.M. SHUMADINE                         0.20 hr.

    03/25/19      Email from and to Ms. Goldman re: filing for schedule
                  for summary judgment briefing;

                  C.M. SHUMADINE                         0.10 hr.

    03/25/19      Follow-up email from and to Ms. Goldman and from
                  Ms. Goldman to Mr. Prince and review attachments;

                  C.M. SHUMADINE                         0.20 hr.

    03/27/19      Review email from Ms. Goldman to Mr. Prince re:
                  filing consent motion;

                  C.M. SHUMADINE                         0.10 hr.

    03/27/19      Email from Mr. Prince approving an email from
                  Ms. Goldman and follow-up emails;

                  C.M. SHUMADINE                         0.10 hr.

    03/27/19      Review documents re: filing;

                  C.M. SHUMADINE                         0.10 hr.

    03/27/19      Telephone conference with Mr. Girdner re: procedure
                  in Clerk's Office;

                  C.M. SHUMADINE                         0.30 hr.

    03/27/19      Office conferences with Mr. Hibsher and Ms. Goldman
                  re: progress of the deposition;

                  C.M. SHUMADINE                         0.20 hr.

    03/28/19      Office conferences with Mr. Hibsher and Ms. Goldman
                  re: issues in case involving 30(b)(6) deposition and logistics;

                  C.M. SHUMADINE                         0.30 hr.



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    03/29/19      Telephone conference with Ms. Goldman re: expert
                  opinion use in motion for summary judgment and
                  discussion of argument of motion for summary judgment;

                  C.M. SHUMADINE                       0.50 hr.

    03/29/19      Email from Ms. Goldman and review objections to
                  Mr. Schaffer's second set of interrogatories;

                  C.M. SHUMADINE                       0.10 hr.

                                   March 2019 Summary of Fees

    C.M. SHUMADINE:                     12.00 hrs. @ $450/hr.                   $ 5,400.00

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    04/01/19      Review answers filed by defendants and email from
                  Mr. Girdner with his comments on answers;

                  C.M. SHUMADINE                       0.20 hr.

    04/02/19      Email from Ms. Goldman re: telephone call with
                  Mr. Girdner;

                  C.M. SHUMADINE                       0.10 hr.

    04/02/19      Email from Ms. Goldman with Mr. Schaefer's objections to
                  second set of interrogatories, Mr. Schaefer's objections
                  to third set of requests for production, Ms. Smith's
                  objections to second set of interrogatories, and Ms.
                  Smith's objections to third set of requests for production;

                  C.M. SHUMADINE                       0.30 hr.

    04/04/19      Email from Ms. Goldman to Mr. Prince re: objections;

                  C.M. SHUMADINE                       0.10 hr.

    04/04/19      Email from Ms. Goldman to Mr. Prince with supplemental
                  privilege log and review of supplemental privilege log;

                  C.M. SHUMADINE                       0.10 hr.

    04/12/19      Email from Mr. Hibsher re: discovery issues and a
                  possible motion to compel;


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                  C.M. SHUMADINE                        0.20 hr.

    04/12/19      Response to Mr. Hibsher's email providing advice
                  re: pursuing a motion to compel;

                  C.M. SHUMADINE                        0.40 hr.

    04/12/19      Telephone conference with Mr. Hibsher re: motion
                  to compel and other issues in case including the motions
                  for summary judgment;

                  C.M. SHUMADINE                        0.20 hr.

    04/15/19      Email from Mr. Harrison with letter from Mr. Prince
                  outlining discovery deficiencies perceived by Mr. Prince;

                  C.M. SHUMADINE                        0.20 hr.

    04/15/19      Email to Mr. Harrison with advice re: responding to
                  Mr. Prince's complaints about discovery;

                  C.M. SHUMADINE                        0.20 hr.

    04/15/19      Review Bergano v. Virginia Beach and send to
                  Mr. Harrison re: privilege for attorney records;

                  C.M. SHUMADINE                        0.20 hr.

    04/16/19      Review email from Ms. Goldman and objections
                  and responses to Mr. Schaefer's second set of interrogatories;

                  C.M. SHUMADINE                        0.20 hr.

    04/16/19      Review email from Mr. Harrison with notes re: meet
                  and confer and analyze notes re: meet and confer;

                  C.M. SHUMADINE                        0.20 hr.

    04/16/19      Email to Mr. Hibsher, et al., re: issues regarding
                  the discovery of information re: the fees paid by CNS;

                  C.M. SHUMADINE                        0.20 hr.

    04/20/19      Email from Ms. Goldman with expert report from
                  Mr. Prince and review expert report;


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                  C.M. SHUMADINE                          0.10 hr.

    04/20/19      Email from Mr. Prince re: his claim to access to
                  information regarding legal fees;

                  C.M. SHUMADINE                          0.10 hr.

    04/23/19      Email from Ms. Goldman with objections and
                  responses to Mr. Schaefer's second set of interrogatories;

                  C.M. SHUMADINE                          0.20 hr.

    04/23/19      Email from Ms. Aronholt with Schaefer and Smith
                  objections to plaintiff's second set of interrogatories;

                  C.M. SHUMADINE                          0.20 hr.

    04/23/19      Email from Mr. Harrison with supplemental responses
                  to interrogatories;

                  C.M. SHUMADINE                          0.20 hr.

    04/24/19      Email from and to Ms. Goldman re: summary judgment
                  brief;

                  C.M. SHUMADINE                          0.10 hr.

    04/24/19      Telephone conference with Mr. Hibsher re: legal fees
                  and summary judgment brief;

                  C.M. SHUMADINE                          0.20 hr.

    04/24/19      Office conference with Mr. Bryant re: issues in case;

                  C.M. SHUMADINE                          0.10 hr.

    04/24/19      Email from Mr. Hibsher re: filing;

                  C.M. SHUMADINE                          0.10 hr.

    04/24/19      Email from Mr. Harrison with objections to discovery;

                  C.M. SHUMADINE                          0.20 hr.

    04/24/19      Email to Mr. Harrison re: the custom in this court
                  in dealing with certain discovery issues;

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                  C.M. SHUMADINE                        0.10 hr.

    04/24/19      Follow-up email from Mr. Harrison re: local practices
                  in the Eastern District;

                  C.M. SHUMADINE                        0.10 hr.

    04/25/19      Email from Ms. Goldman re: form of motion for
                  summary judgment and reply;

                  C.M. SHUMADINE                        0.20 hr.

    04/25/19      Review email from Mr. Harrison and draft of
                  memorandum in support of motion for summary
                  judgment and analyze arguments made;

                  C.M. SHUMADINE                        1.80 hr.

    04/25/19      Email to Mr. Hibsher, Ms. Goldman and Mr.
                  Harrison re: discovery and suggestions re: oral argument;

                  C.M. SHUMADINE                        0.30 hr.

    04/25/19      Email from and to Ms. Goldman re: filing of papers
                  regarding the motion for summary judgment;

                  C.M. SHUMADINE                        0.20 hr.

    04/25/19      Telephone conference with Mr. Hibsher in regard
                  to motion for summary judgment;

                  C.M. SHUMADINE                        0.10 hr.

    04/26/19      Review draft of memorandum in support of
                  motion for summary judgment and prepare for filing,
                  emails from and to Ms. Goldman re: filing and review
                  issues re: filing and breaking up exhibits, file motion
                  for summary judgment and memorandum in support;

                  C.M. SHUMADINE                        5.90 hr.

    04/29/19      Review papers filed by the clerks including the
                  memorandum in support of the clerks' motions for
                  summary judgment and the supporting papers;

                  C.M. SHUMADINE                        1.90 hr.

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    04/29/19      Prepare courtesy copy of filing for Judge Morgan
                  and analyze issues re: courtesy filing;

                  C.M. SHUMADINE                        0.30 hr.

    04/29/19      Telephone conference with Mr. Hibsher, Mr. Harrison,
                  and Ms. Goldman re: the filing and issues to be
                  addressed in the response to the clerks' filing;

                  C.M. SHUMADINE                        0.30 hr.

    04/29/19      Email from Ms. Goldman re: sample opposition
                  materials and look for sample opposition materials;

                  C.M. SHUMADINE                        0.20 hr.

    04/30/19      Review email from Ms. Goldman re: forms and
                  continue to search for forms;

                  C.M. SHUMADINE                        0.10 hr.

    04/30/19      Email to Ms. Goldman re: forms and the attorneys'
                  conference;

                  C.M. SHUMADINE                        0.20 hr.

    04/30/19      Review files re: forms;

                  C.M. SHUMADINE                        0.20 hr.

    04/30/19      Email from Ms. Aronholz with signed verification
                  from Mr. Schaefer;

                  C.M. SHUMADINE                        0.10 hr.

    04/30/19      Email to Ms. Goldman re: access questions to be
                  addressed at trial;

                  C.M. SHUMADINE                        0.20 hr.

                                    April 2019 Summary of Fees

    C.M. SHUMADINE:                     16.50 hrs. @ $450/hr.                 $ 7,425.00

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    05/01/19      Email from Mr. Hibsher re: filing and trial strategy;

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                  C.M. SHUMADINE                        0.20 hr.

    05/01/19      Analyze filings re: issued raised by Mr. Hibsher;

                  C.M. SHUMADINE                        0.20 hr.

    05/01/19      Email from Mr. Prince re: attorneys' fees issue and
                  analyze issue;

                  C.M. SHUMADINE                        0.20 hr.

    05/02/19      Email from Ms. Goldman re: the form for objections
                  in opposition to summary judgment motions and review
                  past pleadings;

                  C.M. SHUMADINE                        0.30 hr.

    05/02/19      Email to Ms. Goldman re: Rule 56(c)(2) and normal
                  procedure;

                  C.M. SHUMADINE                        0.10 hr.

    05/03/19      Email from Mr. Hibsher to Mr. Prince responding to
                  discovery of attorneys' fees expended in prosecution
                  of the case;

                  C.M. SHUMADINE                        0.10 hr.

    05/07/19      Email from Ms. Goldman with Rebuttal Expert Report
                  and review of Rebuttal Expert Report;

                  C.M. SHUMADINE                        0.90 hr.

    05/07/19      Email from Mr. Hibsher and response re: lack of
                  endorsement of Mr. Schaeffer by Virginian-Pilot
                  and lack of coverage;

                  C.M. SHUMADINE                        0.20 hr.

    05/09/19      Email from Mr. Harrison with draft of brief and
                  response to Mr. Harrison's initial questions;

                  C.M. SHUMADINE                        0.20 hr.

    05/09/19      Review draft of Memorandum and send additional
                  responses to Mr. Harrison;


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                  C.M. SHUMADINE                       0.90 hr.

    05/10/19      Continue review and analysis of draft Response
                  Memorandum in Opposition to Plaintiff's Motions
                  for Summary Judgment and emails from and to Bryan
                  Cave attorneys regarding the draft;

                  C.M. SHUMADINE                       1.80 hr.

    05/10/19      Email from Ms. Baxter re: trial date change and email
                  from Ms. Goldman responding to Ms. Baxter;

                  C.M. SHUMADINE                       0.10 hr.

    05/10/19      Telephone conference with Ms. Baxter re: trial
                  date postponement and asking for extension to respond;

                  C.M. SHUMADINE                       0.20 hr.

    05/10/19      Email from and to Mr. Hibsher re: trial date change;

                  C.M. SHUMADINE                       0.10 hr.

    05/10/19      Email from Mr. Harrison and final review of
                  memorandum prior to filing;

                  C.M. SHUMADINE                       0.80 hr.

    05/10/19      Review Clerk's Memorandum in Opposition and
                  analyze arguments made by Clerks;

                  C.M. SHUMADINE                       1.10 hr.

    05/12/19      Email from and to Mr. Hibsher re: moving trial date;

                  C.M. SHUMADINE                       0.10 hr.

    05/14/19      Email from Ms. Baxter and forward to Mr. Hibsher,
                  et al., re: change of trial date;

                  C.M. SHUMADINE                       0.10 hr.

    05/14/19      Email from Mr. Hibsher and to and from Ms. Baxter
                  re: trial date;

                  C.M. SHUMADINE                       0.10 hr.

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    05/14/19      Follow up email and telephone conference with
                  Mr. Hibsher re: trial date;

                  C.M. SHUMADINE                        0.20 hr.

    05/14/19      Prepare reminder on deadline dates outlined in the
                  scheduling order and coordinate with Mr. Shumadine
                  on the extension of the trial date and changed deadline dates;

                  P. YODER                              0.30 hr.

    05/15/19      Telephone conference with Ms. Baxter re: trial date;

                  C.M. SHUMADINE                        0.20 hr.

    05/15/19      Email and telephone conference with Mr. Hibsher re:
                  trial date;

                  C.M. SHUMADINE                        0.10 hr.

    05/15/19      Email from Mr. Harrison re: questions re: local practice;

                  C.M. SHUMADINE                        0.10 hr.

    05/15/19      Email to Mr. Harrison responding to his questions
                  regarding local practice;

                  C.M. SHUMADINE                        0.20 hr.

    05/15/19      Email from Mr. Hibsher and voicemail re: trial date;

                  C.M. SHUMADINE                        0.10 hr.

    05/16/19      Telephone conference with Mr. Prince re: his concern
                  over spacing;

                  C.M. SHUMADINE                        0.20 hr.

    05/16/19      Follow up telephone conference with Mr. Hibsher
                  re: Mr. Prince's complaints;

                  C.M. SHUMADINE                        0.20 hr.

    05/16/19      Email from Mr. Harrison with Eastern District cases;

                  C.M. SHUMADINE                        0.20 hr.


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    05/16/19      Additional telephone conference with Mr. Hibsher
                  re: how to proceed;

                  C.M. SHUMADINE                       0.20 hr.

    05/17/19      Email from and to Ms. Goldman and send form motion
                  and brief to Ms. Goldman;

                  C.M. SHUMADINE                       0.30 hr.

    05/17/19      Email from Mr. Hibsher and review drafts and consider
                  whether need to make the motion an emergency motion;

                  C.M. SHUMADINE                       0.40 hr.

    05/17/19      Telephone conference with Mr. Hibsher re: call
                  to Mr. Prince;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      Email to Mr. Prince;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      Email to Mr. Hibsher and Ms. Goldman re:
                  conversation with Mr. Prince;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      Telephone conference with Ms. Baxter re: filings;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      File Motion and Memorandum;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      Additional telephone conference with Ms. Baxter re:
                  claims and emails re: extension;

                  C.M. SHUMADINE                       0.20 hr.

    05/20/19      Review order granting extension;

                  C.M. SHUMADINE                       0.10 hr.



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    05/20/19      Telephone conference with Mr. Hibsher re: issues
                  relating to filing;

                  C.M. SHUMADINE                       0.20 hr.

    05/22/19      Telephone conference with Mr. Hibsher re: replies
                  and Motion for Substitution of Memoranda and issues
                  related thereto;

                  C.M. SHUMADINE                       0.20 hr.

    05/23/19      Email from Ms. Goldman with draft reply and
                  preliminary review of reply and exhibits;

                  C.M. SHUMADINE                       0.90 hr.

    05/24/19      Continue review of draft of reply;

                  C.M. SHUMADINE                       0.80 hr.

    05/24/19      Email to Ms. Goldman with comments;

                  C.M. SHUMADINE                       0.20 hr.

    05/24/19      Email from Mr. Hibsher and reply to Mr. Hibsher
                  re: comments;

                  C.M. SHUMADINE                       0.10 hr.

    05/24/19      Review final of reply and exhibits and attachments;

                  C.M. SHUMADINE                       0.70 hr.

    05/25/19      Review Reply filed by clerks;

                  C.M. SHUMADINE                       0.90 hr.

    05/26/19      Continue review of clerks' Reply in Support of Motion
                  for Summary Judgment and review of selected exhibits
                  from Reply;

                  C.M. SHUMADINE                       0.40 hr.

    05/28/19      Telephone conference with Hibsher re: Clerk's reply,
                  oral argument and attorney's conference;

                  C.M. SHUMADINE                       0.20 hr.

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    05/28/19      Telephone conference with Mr. Prince re: oral
                  argument and the details of his call to Ms. Baxter;

                  C.M. SHUMADINE                          0.20 hr.

    05/28/19      Email from and to Mr. Hibsher re: attorney's conference;

                  C.M. SHUMADINE                          0.20 hr.

    05/28/19      Calendar deadline dates from the Amended Scheduling
                  Order to forward reminders of same to Mr. Shumadine;

                  P. YODER                                0.60 hr.

    05/30/19      Email from and to Mr. Hibsher re: call to Ms. Baxter;

                  C.M. SHUMADINE                          0.10 hr.

    05/30/19      Follow up email;

                  C.M. SHUMADINE                          0.10 hr.

    05/30/19      Voicemail and telephone conference with Mr. Hibsher
                  re: call to Ms. Baxter and issues regarding the call;

                  C.M. SHUMADINE                          0.20 hr.

    05/30/19      Email to and from Mr. Hibsher following up on call
                  to Ms. Baxter;

                  C.M. SHUMADINE                          0.10 hr.

    05/30/19      Review replies filed by both parties re: evaluation of
                  summary judgment motions;

                  C.M. SHUMADINE                          0.50 hr.

                                     May 2019 Summary of Fees

                                 Hours          Rate/Hr          Amount

    C.M. SHUMADINE               17.40          450.00           7,830.00
    P. YODER                       .90          155.00             139.50
                                 18.30                           7,969.50

    May 2019 Fees for Professional Services                                  $ 7,969.50


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                            *      *       *      *      *        *     *

    06/06/19      Email from Mr. Prince to Mr. Hibsher re: moving
                  attorney's conference;

                  C.M. SHUMADINE                       0.10 hr.

    06/06/19      Email from and to Mr. Hibsher re: logistics and conversation
                  with Ms. Baxter re: Judge Morgan's plans and arrange for
                  conference rooms for attorneys' conference;

                  C.M. SHUMADINE                       0.30 hr.

    06/07/19      Email from Ms. Goldman re: motions in limine and
                  trial briefs in Eastern District and response;

                  C.M. SHUMADINE                       0.20 hr.

    06/07/19      Follow-up email and more detailed responses to Ms.
                  Goldman's questions;

                  C.M. SHUMADINE                       0.20 hr.

    06/13/19      Review order filing substituted memoranda and
                  follow-up filings on PACER;

                  C.M. SHUMADINE                       0.10 hr.

    06/25/19      Review Order re: supplementing the record;

                  C.M. SHUMADINE                       0.10 hr.

                                    June 2019 Summary of Fees

    C.M. SHUMADINE:                     1.00 hr. @ $450/hr.                      $ 450.00

                            *      *       *      *      *        *     *

    07/22/19      Telephone conference with Mr. Hibsher re: status of case
                  and discussion of Judge Morgan's likely actions;

                  C.M. SHUMADINE                       0.20 hr.

    07/22/19      Check on related issue and email to Mr. Hibsher;

                  C.M. SHUMADINE                       0.10 hr.


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                                     July 2019 Summary of Fees

    C.M. SHUMADINE:                     0.30 hr. @ $450/hr.                          $ 135.00

                            *       *      *       *       *       *         *

    08/19/19      Telephone conference with Ms. Baxter re: Judge Morgan's
                  return;

                  C.M. SHUMADINE                        0.10 hr.

    08/19/19      Email to Mr. Hibsher, et al., re: Judge Morgan's return;

                  C.M. SHUMADINE                        0.10 hr.

    08/19/19      Email from Mr. Harrison with practice questions and
                  draft response and office conference with Mr. Abel re: response;

                  C.M. SHUMADINE                        0.50 hr.

    08/19/19      Email from and to Ms. Goldman re: procedure utilized
                  in the Eastern District;

                  C.M. SHUMADINE                        0.20 hr.

    08/20/19      Review email from Ms. Goldman re: trial procedure
                  and logistics and email to Ms. Goldman re: trial procedures
                  and issues regarding final pretrial conference and
                  preparation of the final pretrial order;

                  C.M. SHUMADINE                        0.40 hr.

    08/20/19      Coordinate with Mr. Shumadine on providing assistance
                  to Ms. Goldman for trial exhibits and using Trial Director
                  at trial as presentation tool;

                  P. YODER                              0.50 hr.

    08/22/19      Meet with Ms. Martinez and Ms. Yoder re: document
                  presentation issues and analyze those issues;

                  C.M. SHUMADINE                        0.30 hr.

    08/22/19      Meeting with Mr. Shumadine and Ms. Yoder re: trial
                  preparation and assist in courtroom presentation;



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                  N. MARTINEZ                               0.90 hr.

    08/22/19      Attend meeting with Mr. Shumadine and Ms. Martinez
                  on assisting Ms. Goldman with trial preparation and using
                  Trial Director during the trial in October 2019;

                  P. YODER                                  0.90 hr.

    08/23/19      Email from Ms. Yoder and discussion of document preparation;

                  C.M. SHUMADINE                            0.20 hr.

    08/23/19      Follow-up discussion with Ms. Yoder and email from
                  Ms. Yoder to Ms. Goldman;

                  C.M. SHUMADINE                            0.20 hr.

    08/23/19      Review issues re: videotaped depositions and email
                  to Ms. Goldman;

                  C.M. SHUMADINE                            0.20 hr.

    08/23/19      Assist Ms. Yoder with drafting of guidelines for processing
                  of transcripts and exhibits for court presentation;

                  N. MARTINEZ                               0.40 hr.

    08/23/19      Draft guidelines to be forwarded to Ms. Goldman
                  re: preparation of plaintiff and defendant trial exhibits
                  and deposition transcripts for processing to load same
                  into Trial Director and to print sets of plaintiff exhibits
                  for the court and opposing counsel by the October 29th
                  deadline date; coordinate with Ms. Martinez re: same;

                  P. YODER                                  0.90 hr.

                                    August 2019 Summary of Fees

                                  Hours           Rate/Hr          Amount

    C.M. SHUMADINE                2.20            450.00              990.00
    P. YODER                      2.30            155.00              356.50
    N. MARTINEZ                   1.30            210.00              273.00
    TOTAL                         5.80                             $1,619.50

    August 2019 Fees for Professional Services                                   $1,619.50


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    09/04/19      Email from and to Mr. Harrison re: local practice and
                  office conference with Mr. Bryant re: local practice issues;

                  C.M. SHUMADINE                         0.20 hr.

    09/05/19      Email to Mr. Hibsher, et al., re: local practice and
                  Judge Morgan's local procedures;

                  C.M. SHUMADINE                         0.20 hr.

    09/05/19      Telephone call from Mr. Hibsher, Mr. Harrison and Ms.
                  Goldman re: trial procedures in the Eastern District;

                  C.M. SHUMADINE                         0.40 hr.

    09/10/19      Email from and to Ms. Goldman re: attorneys' conference
                  issues;

                  C.M. SHUMADINE                         0.20 hr.

    09/10/19      Email from and to Ms. Goldman re: factual contentions
                  and triable issues;

                  C.M. SHUMADINE                         0.20 hr.

    09/11/19      Telephone conference with Mr. Harrison re: use of
                  technology and re: meeting re: the use of technology;

                  C.M. SHUMADINE                         0.20 hr.

    09/11/19      Telephone conference with Ms. Baxter re: meeting
                  to demonstrate the technology available at the court;

                  C.M. SHUMADINE                         0.20 hr.

    09/11/19      Telephone conference and email to Mr. Harrison
                  re: meeting and office conference with Ms. Martinez re: meeting;

                  C.M. SHUMADINE                         0.20 hr.

    09/12/19      Office conference with Ms. Yoder and email to
                  Mr. Harrison re: electronic devices and follow-up;



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                  C.M. SHUMADINE                        0.20 hr.

    09/12/19      Determine the requirements of the United States District
                  Court for permission to bring electronic devices into
                  the court for the October 7, 2019 courtroom technology
                  meeting and the October 29, 2019 trial;

                  P. YODER                              0.80 hr.

    09/12/19      Complete the Request for Authorization form and
                  Request to Use Court's Evidence Presentation System
                  form and prepare letter to Judge Morgan forwarding same
                  for execution and return;

                  P. YODER                              1.00 hr.

    09/13/19      Email from and to Mr. Harrison re: electronic devices
                  in court and follow-up email;

                  C.M. SHUMADINE                        0.20 hr.

    09/13/19      Letter to court re: permission to bring computer to
                  court for demonstration of technology;

                  C.M. SHUMADINE                        0.10 hr.

    09/13/19      Email from Mr. Hibsher and Mr. Prince re: telephone
                  conference and reply email from Mr. Hibsher;

                  C.M. SHUMADINE                        0.10 hr.

    09/13/19      Finalize requests to Judge Morgan for electronic
                  devices to be permitted at trial and attorney's
                  conference/courtroom technology meeting and forward to
                  Judge Morgan for approval;

                  P. YODER                              0.50 hr.

    09/16/19      Email from Ms. Goldman re: meet and confer and
                  research re: whether Judge Morgan has special rules
                  as requested by Ms. Goldman;

                  C.M. SHUMADINE                        0.40 hr.

    09/24/19      Email from and to Ms. Goldman re: technology issues
                  and deposition summaries;

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                  C.M. SHUMADINE                         0.20 hr.

    09/24/19      Follow-up email re: witness list and depositions and response;

                  C.M. SHUMADINE                         0.20 hr.

    09/25/19      Email from Ms. Goldman re: witness list and response;

                  C.M. SHUMADINE                         0.50 hr.

    09/25/19      Follow-up email from Ms. Goldman and response;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/19      Email from and to Ms. Goldman re: attendance at
                  pretrial conference of Courthouse News executives;

                  C.M. SHUMADINE                         0.40 hr.

    09/25/19      Email from and to Ms. Goldman re: possibility of
                  settlement conference being ordered by Judge Morgan;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/19      Review previous filings regarding questions regarding
                  briefing and the filing of a trial brief and respond to
                  Ms. Goldman;

                  C.M. SHUMADINE                         0.10 hr.

    09/25/19      Meeting with Ms. Yoder re: Pre Trial Disclosures filed
                  and trial exhibits to load into TrialDirector software
                  to use in trial;

                  N. MARTINEZ                            0.50 hr.

    09/25/19      Coordinate with Ms. Martinez on Pre Trial
                  Disclosures filed by plaintiff and defendant and
                  anticipated electronic versions of same to load into Trial
                  Director for use at trial;

                  P. YODER                               0.50 hr.

    09/26/19      Telephone conference with Ms. Goldman re: issues
                  regarding attorneys' conference;



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                  C.M. SHUMADINE                      0.30 hr.

    09/26/19      Telephone conference with Ms. Goldman re: disclosures;

                  C.M. SHUMADINE                      0.10 hr.

    09/26/19      Email to Ms. Goldman providing 26(a)(3) disclosure
                  form utilized in another case and locate forms;

                  C.M. SHUMADINE                      0.10 hr.

    09/27/19      Telephone conference with Ms. Goldman re: exhibit list;

                  C.M. SHUMADINE                      0.10 hr.

    09/27/19      Email from Ms. Goldman with draft Rule 26(a)(3)
                  disclosures and emails to and from Ms. Goldman re: disclosures;

                  C.M. SHUMADINE                      0.20 hr.

    09/27/19      Email from Ms. Rossi with defendant's 26(a)(3)
                  disclosures and brief review of disclosures;

                  C.M. SHUMADINE                      0.30 hr.

    09/27/19      Email from Ms. Goldman with exhibit list and
                  additional email re: exhibit list;

                  C.M. SHUMADINE                      0.30 hr.

    09/30/19      Office conference with Ms. Yoder re: computer
                  access and email to and from Ms. Baxter re: computer
                  access for technology review;

                  C.M. SHUMADINE                      0.10 hr.

    09/30/19      Email from Ms. Goldman with stipulated facts and
                  review of stipulated facts;

                  C.M. SHUMADINE                      0.30 hr.

    09/30/19      Email from Mr. Harrison with disclosures in WORD
                  and review portions of disclosures;

                  C.M. SHUMADINE                      0.30 hr.


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    09/30/19      Email from Mr. Prince with disclosures in WORD
                  and review portions of Mr. Prince's disclosures;

                  C.M. SHUMADINE                           0.30 hr.

    09/30/19      Meeting with Ms. Yoder re: deadline schedule and
                  prep TrialDirector to load electronic exhibits for trial;

                  N. MARTINEZ                              0.20 hr.

    09/30/19      Two telephone conferences with Judge Morgan's Clerk
                  and Ms. Baxter to follow up on the status of the executed
                  electronic device authorization and to obtain a copy of same;

                  P. YODER                                 0.20 hr.

    09/30/19      Review plaintiff's Pre-trial Disclosures and coordinate
                  with Ms. Martinez on the deadline schedule and obtaining
                  electronic versions of same in order to download into
                  Trial Director for use at trial;

                  P. YODER                                 0.90 hr.

                                  September 2019 Summary of Fees

                                 Hours           Rate/Hr          Amount

    C.M. SHUMADINE                6.80           450.00            3,060.00
    P. YODER                      3.90           155.00              604.50
    N. MARTINEZ                   0.70           210.00              147.00
    TOTAL                        11.40                            $3,811.50

    September 2019 Fees for Professional Services                                 $ 3,811.50

                             *       *       *       *       *        *       *

    10/01/19      Email from Ms. Goldman re: stipulated facts and review
                  stipulated facts;

                  C.M. SHUMADINE                           0.20 hr.

    10/01/19      Download Plaintiff and Defendant exhibits from an
                  external link and prep to use in trial presentation software;

                  N. MARTINEZ                              0.70 hr.



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    10/02/19      Email from Ms. Goldman re: logistics of attorneys'
                  conference and response;

                  C.M. SHUMADINE                          0.10 hr.

    10/02/19      Email from Ms. Martinez and Ms. Yoder and Ms. Weiss
                  re: exhibits;

                  C.M. SHUMADINE                          0.10 hr.

    10/02/19      Review materials to be discussed at attorneys' conference;

                  C.M. SHUMADINE                          0.10 hr.

    10/02/19      Conference call with Ms. Weiss and Ms. Yoder re:
                  missing electronic exhibits and loading to trial presentation
                  software; assign Plaintiff's exhibit stamps;

                  N. MARTINEZ                             3.80 hr.

    10/02/19      Attend telephone conference with Ms. Weiss and
                  Ms. Martinez re: electronic trial exhibits and loading
                  same into Trial Director;

                  P. YODER                                0.50 hr.

    10/03/19      Email from Ms. Goldman re: attorneys' conference
                  logistics and response;

                  C.M. SHUMADINE                          0.10 hr.

    10/03/19      Email from Ms. Martinez and Ms. Yoder re: electronic exhibits;

                  C.M. SHUMADINE                          0.10 hr.

    10/03/19      Continue to assign Plaintiff's exhibit stamps to trial exhibits;

                  N. MARTINEZ                             1.60 hr.

    10/03/19      Receipt of Plaintiff's exhibit binders from Ms. Weiss
                  containing exhibits 13-27 and organize 2 sets of binders for
                   use at the attorney's conference on October 7, 2019;

                  P. YODER                               0.80 hr.

    10/03/19      Coordinate with Ms. Weiss on deposition transcripts to be
                  shipped for attorneys conference and verify location of

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                  courthouse technology review meeting with Ms. Baxter
                  at the USDC;

                  P. YODER                               0.30 hr.

    10/04/19      Email from Ms. Goldman with draft objections, review of
                  objections, and email Ms. Goldman with reactions to objections;

                  C.M. SHUMADINE                          0.30 hr.

    10/04/19      Follow-up email from Ms. Goldman and response re:
                  objections;

                  C.M. SHUMADINE                          0.20 hr.

    10/04/19      Continue to assign Plaintiff's exhibit stamps to trial exhibits;

                  N. MARTINEZ                             1.30 hr.

    10/06/19      Review defendants' objections to exhibits, et al.;

                  C.M. SHUMADINE                          0.20 hr.

    10/06/19      Meeting with Mr. Hibsher, Mr. Harrison and Ms. Goldman,
                  including preparation of Ms. Rardin, CNS's reporter re:
                  her testimony at trial;

                  C.M. SHUMADINE                          3.60 hr.

    10/07/19      Email from Ms. Goldman and prepare documents for the
                  meeting with Ms. Goldman, Mr. Hibsher and Mr. Harrison;

                  C.M. SHUMADINE                          0.20 hr.

    10/07/19      Meeting with Mr. Hibsher, Ms. Goldman and Mr. Harrison
                  and participate in attorneys' conference with Mr. Prince
                  and Mr. Matheson and review and revise notes on final
                  pretrial order;

                  C.M. SHUMADINE                          3.50 hr.

    10/07/19      Meeting with Ms. Baxter and all counsel at the courthouse
                  relating to the use of technology in the courtroom;

                  C.M. SHUMADINE                          0.90 hr.


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    10/07/19      Prep trial equipment and attend technology meeting at
                  Federal Court with Mr. Shumadine and co-counsel;

                  N. MARTINEZ                            1.70 hr.

    10/07/19      Attend the pretrial attorneys conference and the
                  technology review meeting with Ms. Baxter at the
                  United States District Court;

                  P. YODER                              1.50 hr.

    10/07/19      Gather Pretrial Order templates and forward to Ms. Goldman;

                  P. YODER                              1.70 hr.

    10/07/19      Maintain file with boxes of documents used at the attorneys’
                  conference;

                  P. YODER                              1.90 hr.

    10/08/19      Email to Mr. Hibsher, et al., re: Judge Morgan's hearing
                  and response from Mr. Hibsher;

                  C.M. SHUMADINE                         0.10 hr.

    10/08/19      Email from and to Ms. Goldman re: courtroom procedure
                  in the Eastern District;

                  C.M. SHUMADINE                         0.20 hr.

    10/08/19      Office conference with Ms. Yoder re: preparation of final
                  pretrial order draft;

                  C.M. SHUMADINE                         0.10 hr.

    10/08/19      Locate sample Pretrial Order and forward same to
                  Ms. Goldman;

                  P. YODER                               0.40 hr.

    10/09/19      Email from Ms. Goldman re: final pretrial order draft
                  and office conference with Ms. Yoder re: draft and review
                  issues re: specific parts of the final pretrial order draft;

                  C.M. SHUMADINE                         0.40 hr.


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    10/09/19      Email from Mr. Prince re: deposition summonses;

                  C.M. SHUMADINE                        0.10 hr.

    10/09/19      Email from Ms. Goldman and response re: deposition
                  excerpts and office conference with Ms. Yoder;

                  C.M. SHUMADINE                        0.10 hr.

    10/09/19      Review Proposed Final Pretrial Order received from
                  Ms. Goldman for accuracy of Plaintiff and Defendant
                  Trial Exhibits revisions at the attorney's conference;

                  P. YODER                             3.50 hr.

    10/09/19      Telephone conference with Ms. Goldman re:
                  revisions to same;

                  P. YODER                              0.10 hr.

    10/10/19      Email from Ms. Goldman to Mr. Prince re: final pretrial order;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/19      Review email from Mr. Harrison re: OES subpoena and
                  office conference with Ms. Yoder and sign subpoena;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/19      Email from Ms. Goldman and from Mr. Prince re:
                  stipulation and review briefly the stipulation;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/19      Email from and to Mr. Harrison re: OES subpoena;

                  C.M. SHUMADINE                        0.10 hr.

    10/10/19      Email from Ms. Goldman with draft of final pretrial
                  order and review of final pretrial order;

                  C.M. SHUMADINE                        0.20 hr.

    10/10/19      Re-number Plaintiff's and Defendant's exhibits from updated
                  list;


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                  N. MARTINEZ                             0.80 hr.

    10/10/19      Review deposition designations and list of re-numbered
                  trial exhibits in the Final Pretrial Order and coordinate
                  revisions to same with Ms. Goldman;

                  P. YODER                               1.20 hr.

    10/10/19      Revise trial subpoena to office of the secretary of the
                  Supreme Court of Virginia, add a Certificate of Service
                  and calculate the witness fee and mileage fee and email
                  Mr. Harrison re: same;

                  P. YODER                               1.30 hr.

    10/11/19      Email from Mr. Harrison to Ms. Myers and Mr. Prince
                  re: OES subpoena;

                  C.M. SHUMADINE                          0.10 hr.

    10/11/19      Continue to re-number Plaintiff's and Defendant's exhibits and
                  upload to external link and send to co-counsel;

                  N. MARTINEZ                            2.80 hr.

    10/11/19      Coordinate with Ms. Martinez on re-numbered trial
                  exhibits and arrange for copies of the exhibits with
                  objections for use at the pre-trial conference;

                  P. YODER                                1.20 hr.

    10/14/19      Email from Mr. Prince, Ms. Goldman and Mr. Prince's
                  response re: call;

                  C.M. SHUMADINE                          0.10 hr.

    10/14/19      Email from Ms. Goldman re: factual contentions
                  and triable issues and response re: triable issues after
                  review of draft;

                  C.M. SHUMADINE                          0.60 hr.

    10/15/19      Email from Mr. Prince and Ms. Goldman re: stipulated
                  facts;

                  C.M. SHUMADINE                          0.10 hr.


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    10/15/19      Telephone conferences and emails from Mr. Harrison;

                  C.M. SHUMADINE                       0.30 hr.

    10/15/19      Office conferences with Ms. Yoder to arrange service
                  of trial subpoena on OES;

                  C.M. SHUMADINE                       0.10 hr.

    10/15/19      Email from Ms. Goldman and arrange for extra conference
                  room for meeting;

                  C.M. SHUMADINE                       0.10 hr.

    10/15/19      Email from Ms. Goldman to Mr. Prince re: final pretrial
                  order;

                  C.M. SHUMADINE                       0.10 hr.

    10/15/19      Continue to re-number, assign exhibit stamps to joint
                  exhibits and send to co-counsel;

                  N. MARTINEZ                          2.60 hr.

    10/15/19      Revise trial subpoena and certificate of service to the
                  Director, Judicial Information Technology at the
                  Office of the Executive Secretary at the Supreme Court
                  of Virginia;

                  P. YODER                             0.20 hr.

    10/15/19      Arrange expedited service of same with Mr. Hagood
                  at the Wesley Group in Richmond and forward subpoena via
                  electronic transmission;

                  P. YODER                             0.40 hr.

    10/15/19      Prepare letter to the Director, Judicial Information
                  Technology at the Office of the Executive Secretary at
                  the Supreme Court of Virginia forwarding the mileage
                  fee and witness fee checks;

                  P. YODER                             0.30 hr.

    10/15/19      Request fee checks for same;


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                  P. YODER                              0.20 hr.

    10/15/19      Forward subpoena to defense counsel;

                  P. YODER                              0.10 hr.

    10/15/19      Review electronic set of trial exhibits to ensure accuracy;

                  P. YODER                              1.30 hr.

    10/15/19      Review attempted service of the subpoena on the Director,
                  Judicial Information Technology at the Office of the
                  Executive Secretary at the Supreme Court of Virginia and
                  coordinate with Mr. Shumadine and the Wesley Group
                  authorizing a second service attempt;

                  P. YODER                              0.20 hr.

    10/16/19      Email from Ms. Goldman to Mr. Prince re: final pretrial
                  order and email to Ms. McCloud with finals of order;

                  C.M. SHUMADINE                         0.10 hr.

    10/16/19      Meeting with Ms. Goldman, Mr. Harrison and Mr.
                  Hibsher re: movement of time for the final pretrial
                  conference;

                  C.M. SHUMADINE                         0.40 hr.

    10/16/19      Second meeting with Mr. Hibsher, Mr. Harrison and
                  Ms. Goldman and office conferences with Ms. Yoder re:
                  OES subpoena and respond to questions re: local procedure
                  in light of the movement of the conference;

                  C.M. SHUMADINE                         0.30 hr.

    10/16/19      Email from Judge Morgan's assistant and PACER order
                  re: moving pretrial conference;

                  C.M. SHUMADINE                         0.10 hr.

    10/16/19      Email from Ms. Goldman to Mr. Prince and review
                  additional documents re: stipulation;

                  C.M. SHUMADINE                         0.10 hr.


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    10/16/19      Review cross examination witness sheets to prepare
                  exhibits for trial presentation;

                  N. MARTINEZ                           0.20 hr.

    10/16/19      Coordinate with Ms. Martinez on Cross-Examination
                  exhibits for various witnesses received from Ms. Weiss;

                  P. YODER                              0.40 hr.

    10/16/19      Telephone conference with the Wesley Group to confirm
                  service of the subpoena on the Director at the Office of the
                  Executive Secretary at the Virginia Supreme Court;

                  P. YODER                              0.10 hr.

    10/17/19      Continue review cross examination witness sheets and load
                  exhibits and other documents to trial presentation software;

                  N. MARTINEZ                           0.50 hr.

    10/18/19      Email from Mr. Prince and review stipulated facts attached
                  to Mr. Prince's email;

                  C.M. SHUMADINE                        0.10 hr.

    10/18/19      Office conference with Ms. Yoder re: filing OES subpoena;

                  C.M. SHUMADINE                        0.10 hr.

    10/18/19      Email from Ms. Aronholt re: subpoenas issues by
                  defendants and review of subpoenas;

                  C.M. SHUMADINE                        0.10 hr.

    10/18/19      Email from Ms. Goldman and response re: need to
                  subpoena clients;

                  C.M. SHUMADINE                        0.20 hr.

    10/18/19      Continue to review cross examination witness sheets
                  and load documents to trial presentation software;

                  N. MARTINEZ                           1.70 hr.

    10/18/19      Electronically file the Return of Service received from

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                  the Wesley Group for Mike Riggs at the Office of the
                  Executive Secretary, Supreme Court of Virginia with the
                  United States District Court through the ECF system;

                  P. YODER                               0.30 hr.

    10/19/19      Email from Mr. Hibsher, et al., re: proposed findings of
                  fact and conclusions of law;

                  C.M. SHUMADINE                         0.20 hr.

    10/21/19      Email from Ms. Goldman with proposed findings of fact
                  and conclusions of law and review proposed findings of
                  fact and conclusions of law and send brief comments to
                  Ms. Goldman;

                  C.M. SHUMADINE                         0.60 hr.

    10/21/19      Continue to load exhibits and documents to trial
                  presentation software;

                  N. MARTINEZ                            1.30 hr.

    10/21/19      Coordinate with Mr. Shumadine and Ms. Goldman re:
                  printing sets of plaintiff trial exhibits for the court,
                  defense counsel and plaintiff's counsel;

                  P. YODER                              0.10 hr.

    10/21/19      Review the electronic set of stamped trial exhibits of the
                  Plaintiff and Defendants for accuracy;

                  P. YODER                              2.80 hr.

    10/21/19      Two telephone conferences with Ms. Weiss;

                  P. YODER                              0.20 hr.

    10/22/19      Email from Ms. Goldman to Mr. Prince and reply re: call;

                  C.M. SHUMADINE                         0.10 hr.

    10/22/19      Email from Mr. Prince with proposal for final pretrial
                  order and review proposal;

                  C.M. SHUMADINE                         0.10 hr.


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    10/22/19      Questions from Ms. Goldman re: page limits on filings
                  other than briefs and review issues and respond;

                  C.M. SHUMADINE                          0.20 hr.

    10/22/19      Email from Ms. Baxter, Ms. McCloud and to Ms. Baxter
                  re: moving of trial;

                  C.M. SHUMADINE                          0.30 hr.

    10/22/19      Follow-up emails re: moving of trial;

                  C.M. SHUMADINE                          0.10 hr.

    10/22/19      Telephone conference with Mr. Hibsher re: trial date;

                  C.M. SHUMADINE                          0.20 hr.

    10/22/19      Continue review additional cross examination witness
                  sheet to prepare exhibits for trial presentation;

                  N. MARTINEZ                             0.30 hr.

    10/22/19      Arrange for an oversee printing of 6 sets of trial exhibits
                  for the Joint Exhibits and Plaintiff Exhibits and 1 set
                  of the Defendant exhibits;

                  P. YODER                                0.50 hr.

    10/22/19      Review the Proposed Findings of Facts and Conclusions
                  of Law for electronic filing;

                  P. YODER                                0.40 hr.

    10/23/19      Email to Mr. Hibsher, et al., re: trial date and reply;

                  C.M. SHUMADINE                          0.10 hr.

    10/23/19      Email from Mr. Harrison and Ms. Myers at Attorney
                  General's Office re: OES subpoena;

                  C.M. SHUMADINE                          0.10 hr.

    10/23/19      Telephone conference with Mr. Hibsher and Ms.
                  Goldman re: resetting of case and issues in case;


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                  C.M. SHUMADINE                          0.20 hr.

    10/23/19      Email from and to Mr. Prince re: issues re: continuance
                  and new trial date;

                  C.M. SHUMADINE                          0.10 hr.

    10/23/19      Email from Judge Morgan's assistant and review
                  entry on PACER;

                  C.M. SHUMADINE                          0.10 hr.

    10/24/19      Analyze issues in light of continuance and review of
                  materials that were going to be filed;

                  C.M. SHUMADINE                          0.30 hr.

    10/25/19      Brief review of draft of Findings of Fact and Conclusions
                  of Law and email to Mr. Hibsher, et al., with reactions;

                  C.M. SHUMADINE                          0.30 hr.

                                   October 2019 Summary of Fees

                                 Hours          Rate/Hr          Amount

    C.M. SHUMADINE               17.20          450.00             7,740.00
    P. YODER                     21.90          155.00             3,394.50
    N. MARTINEZ                  19.30          210.00             4,053.00
    TOTAL                        58.40                           $15,187.50

    October 2019 Fees for Professional Services                                   $ 15,187.50

                            *       *       *       *       *        *      *

    11/06/19      Prepare a revised authorization form, due to the case
                  continuance, for permission to bring electronic equipment
                  into the courtroom at trial and prepare letter to Judge
                  Morgan forwarding same;

                  P. YODER                                0.50 hr.

    11/08/19      Revise letter to Judge Morgan re: request for electronic
                  devices at trial, forward to counsel and arrange for delivery
                  to the United States District Court;



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                  P. YODER                               0.40 hr.

    11/14/19      Review 6 sets of Plaintiff's trial exhibits for accuracy and
                  coordinate with DTI on revisions to same;

                  P. YODER                               4.40 hr.

    11/15/19      Revise deadline dates due to case continuance, update
                  reminder dates and forward dates to Mr. Shumadine;

                  P. YODER                               1.10 hr.

    11/21/19      Receipt of executed IT clearance authorization from
                  Ms. Baxter, coordinate on same to verify if IT clearance
                  is needed on the form, and revise form with same;

                  P. YODER                               0.80 hr.

                                  November 2019 Summary of Fees

    P. YODER                             7.20 hr. @ $155/hr.                     $ 1,116.00

                             *      *       *       *       *       *       *

    01/03/20      Email from Mr. Prince's office with subpoenas to
                  Porter, Smith, Hawks, Schaefer and Larson;

                  C.M. SHUMADINE                         0.10 hr.

    01/03/20      Forward reminder of upcoming Final Pretrial
                  conference to Mr. Shumadine;

                  P. YODER                               0.10 hr.

    01/07/20      Email from and to Ms. Goldman re: her telephone call
                  re: logistics;

                  C.M. SHUMADINE                         0.10 hr.

    01/08/20      Prepare for call with Ms. Goldman and Mr. Hibsher;

                  C.M. SHUMADINE                         0.20 hr.

    01/08/20      Telephone conference with Mr. Hibsher and Ms.
                  Goldman re: issues raised re: local procedure;



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                  C.M. SHUMADINE                          0.30 hr.

    01/08/20      Email to and from Ms. Myers re: OES subpoena;

                  C.M. SHUMADINE                          0.10 hr.

    01/08/20      Email from Ms. Goldman re: logistics;

                  C.M. SHUMADINE                          0.10 hr.

    01/08/20      Email to Ms. Yoder re: service of subpoena to OES and
                  follow-up conversations with Ms. Yoder;

                  C.M. SHUMADINE                          0.10 hr.

    01/08/20      Prepare trial subpoena to the Director, Judicial Information
                  Technology, Office of the Executive Secretary, prepare
                  letter forwarding witness and mileage fees check to same,
                  request check for same and coordinate all with Mr. Shumadine;

                  P. YODER                                1.10 hr.

    01/08/20      Continued review of multiple sets of Plaintiff trial exhibits
                  in preparation for the Final Pretrial conference on
                  January 16, 2020; oversee revisions to various exhibits
                  and review sets to ensure accuracy;

                  P. YODER                                4.80 hr.

    01/09/20      Execute OES subpoena and office conference with
                  Ms. Yoder re: service of subpoena;

                  C.M. SHUMADINE                          0.10 hr.

    01/10/20      Email from Ms. Goldman re: logistics of trial preparation
                  and review response from Ms. Martinez;

                  C.M. SHUMADINE                          0.10 hr.

    01/10/20      Revise trial joint-exhibits and prep trail presentation
                  software with same;

                  N. MARTINEZ                             1.00 hr.

    01/10/20      Review documents forwarded to our office in October
                  2019 from Ms. Goldman's office for the Pretrial Hearing

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                  that was cancelled and telephone conference with Ms.
                  Weiss re: contents and determine if binders needed for the
                  Pretrial Conference on January 16, 2020;

                  P. YODER                                1.40 hr.

    01/13/20      Communication with Ms. Weiss re: receive and review
                  witness sheets with exhibits for trial prep meeting;

                  N. MARTINEZ                             1.50 hr.

    01/13/20      Continue to review Plaintiff Exhibit binders to ensure
                  replacement pages are accurate;

                  P. YODER                                1.90 hr.

    01/14/20      Continue to review witness sheets to gather exhibits for
                  trial prep meeting;

                  N. MARTINEZ                             0.60 hr.

    01/14/20      Continue review of trial binders for plaintiff exhibits,
                  joint exhibits and Defendant exhibits;

                  P. YODER                                1.80 hr.

    01/15/20      Review email from Ms. Goldman to Mr. Prince and
                  follow-up re: edits to final pretrial order;

                  C.M. SHUMADINE                          0.10 hr.

    01/15/20      Meeting with Mr. Hibsher and Ms. Goldman and
                  participate with both in conference call with Mr. Girdner;

                  C.M. SHUMADINE                          0.50 hr.

    01/15/20      Follow-up conversations related to logistics and
                  relating to preparation of final pretrial order and
                  questions regarding final pretrial order;

                  C.M. SHUMADINE                          1.00 hr.

    01/15/20      Meet with trial team for demonstration of electronic
                  exhibits presentation;

                  N. MARTINEZ                             2.00 hr.

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    01/15/20      Organize notebooks delivered from outside counsel for
                  pretrial conference preparation;

                  P. YODER                                 1.30 hr.

    01/15/20      Forward reminder to Mr. Shumadine re: January 21
                  and 27, 2020 deadline dates;

                  P. YODER                                 0.10 hr.

    01/15/20      Attend IT meeting with Ms. Goldman and Mr. Hibsher
                  to review exhibits to be presented at the trial in electronic
                  format through Trial Director;

                  P. YODER                                 1.10 hr.

    01/16/20      Prepare for final pretrial conference;

                  C.M. SHUMADINE                           0.30 hr.

    01/16/20      Review Final Pretrial Order;

                  C.M. SHUMADINE                           0.40 hr.

    01/16/20      Meeting with Mr. Hibsher and Ms. Goldman regarding
                  issues at Final Pretrial Conference and regarding issues at trial;

                  C.M. SHUMADINE                           0.90 hr.

    01/16/20      Final Pretrial Conference before Judge Morgan;

                  C.M. SHUMADINE                           3.00 hr.

    01/16/20      Meeting with Mr. Hibsher, Ms. Goldman and calls
                  to Mr. Girdner, California counsel and Mr. Harrison and
                  meeting with Ms. Yoder and Ms. Martinez re: issues at trial;

                  C.M. SHUMADINE                           1.50 hr.

    01/16/20      Design callouts of transcripts from designations to use in courtroom
                  presentation;

                  N. MARTINEZ                              1.80 hr.

    01/16/20      Assist Ms. Goldman and Mr. Hibsher in pretrial conference


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                  preparation, arrange for copies of exhibits for the pretrial
                  conference, attend the pretrial conference at the United
                  States District Court, contact Mr McManus at the United
                  States District Court to order the transcript of same, retrieve the
                  material and documents used at the pretrial conference and
                  organize and store same for Ms. Goldman's and Mr.
                  Hibsher's future return for trial preparation;

                  P. YODER                                4.40 hr.

    01/17/20      Email from Mr. Hibsher and telephone conference with
                  Mr. McManus, court reporter, and see that transcript is sent
                  to Mr. Hibsher, et al.;

                  C.M. SHUMADINE                          0.20 hr.

    01/17/20      Review law and attorneys' fee awards and send to Mr. Hibsher;

                  C.M. SHUMADINE                          0.30 hr.

    01/17/20      Telephone call from Mr. Girdner re: hearing, Planet decision,
                  and future actions and Judge Morgan's opinion;

                  C.M. SHUMADINE                          0.60 hr.

    01/17/20      Email from and to Ms. Goldman re: expedited transcripts;

                  C.M. SHUMADINE                          0.10 hr.

    01/17/20      Two telephone conferences with Mr. McManus at the
                  United States District Court re: Pretrial conference transcript
                  and email same to Ms. Goldman and Mr. Hibsher and
                  request check for payment of invoice for same;

                  P. YODER                                0.40 hr.

    01/17/20      Email Mr. McManus at the United States District Court
                  for clarification on expedited vs. same day trial transcript
                  request and coordinate same with Ms. Goldman;

                  P. YODER                                1.00 hr.

    01/17/20      Print the final Pretrial Order issued by Judge Morgan;

                  P. YODER                                0.10 hr.



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    01/18/20      Review transcript of final pretrial conference;

                  C.M. SHUMADINE                        0.40 hr.

    01/18/20      Review email from Mr. Girdner and email from
                  clerks provided as attachments to Mr. Girdner's email;

                  C.M. SHUMADINE                        0.20 hr.

    01/18/20      Review and analyze Planet decision which had been
                  provided by Mr. Girdner;

                  C.M. SHUMADINE                        0.30 hr.

    01/19/20      Email to attorneys and Mr. Girdner re: responses
                  to Mr. Girdner's question;

                  C.M. SHUMADINE                        0.20 hr.

    01/20/20      Email from Ms. Goldman with Findings of Fact and
                  Conclusions of Law and email to Mr. Hibsher, et al.,
                  re: questions asked by Ms. Goldman;

                  C.M. SHUMADINE                        0.40 hr.

    01/21/20      Office conference with Ms. Yoder re: Findings of Fact
                  and Conclusions of Law;

                  C.M. SHUMADINE                        0.10 hr.

    01/21/20      Emails from and to Ms. Goldman and Ms. Yoder re: logistics;

                  C.M. SHUMADINE                        0.10 hr.

    01/21/20      Telephone conference with Ms. Baxter re: OES subpoena;

                  C.M. SHUMADINE                        0.10 hr.

    01/21/20      Final review of Findings of Fact and Conclusions of Law;

                  C.M. SHUMADINE                        0.30 hr.

    01/21/20      Email from Ms. Goldman and review of docket and Judge
                  Morgan's schedule;

                  C.M. SHUMADINE                        0.20 hr.


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    01/21/20      Continue to design callouts of transcripts from designations
                  to use in courtroom presentation;

                  N. MARTINEZ                             2.10 hr.

    01/21/20      Coordinate with Mr. McManus and Ms. Goldman re:
                  expedited vs. daily transcripts during trial;

                  P. YODER                                0.20 hr.

    01/21/20      Continue to review multiple copies of trial exhibit binders
                  for accuracy;

                  P. YODER                                2.40 hr.

    01/21/20      Assist with electronically filing the Plaintiff's Findings of Fact
                  and Conclusions of Law with the United States District Court;

                  P. YODER                                0.50 hr.

    01/21/20      Coordinate with Ms. Goldman and Ms. Baxter at the United
                  States District Court re: required number of trial exhibit binders
                  to be filed on January 27, 2020 with the Clerk's office;

                  P. YODER                                0.40 hr.

    01/21/20      File the return of service electronically for the subpoena to the
                  Office of Executive Secretary with the Supreme Court of Virginia;

                  P. YODER                                0.40 hr.

    01/22/20      Email from and to Ms. Goldman re: logistics;

                  C.M. SHUMADINE                          0.10 hr.

    01/22/20      Continue to design callouts of transcripts from designations
                  to use in courtroom presentation;

                  N. MARTINEZ                             2.90 hr.

    01/22/20      Confirm with Ms. Goldman that defense counsel has copy
                  of Plaintiff trial exhibits as required by the court;

                  P. YODER                                0.30 hr.

    01/22/20      Finalize review and revisions to multiple sets of Plaintiff and

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                  joint trial exhibits for filing with the court;

                  P. YODER                                  3.60 hr.

    01/23/20      Email from Ms. Goldman and from Ms. Myers re:
                  OES subpoena and responses to both and voicemail to Ms. Baxter;

                  C.M. SHUMADINE                            0.30 hr.

    01/23/20      Email from Mr. Prince and Judge Morgan's law clerk re: logistics;

                  C.M. SHUMADINE                            0.10 hr.

    01/23/20      Continue to design callouts of transcripts from designations
                  to use in courtroom presentation;

                  N. MARTINEZ                               3.60 hr.

    01/23/20      Email Ms. Goldman re: conference room reservation for trial
                  preparation and availability to assist if needed;

                  P. YODER                                  0.20 hr.

    01/24/20      Email from and to Mr. Harrison responding to questions
                  on local practice;

                  C.M. SHUMADINE                            0.30 hr.

    01/24/20      Office conference with Ms. Yoder re: logistics involved
                  in the case;

                  C.M. SHUMADINE                            0.10 hr.

    01/24/20      Email communications with Ms. Weiss, continue to
                  design callouts of transcripts from designations and
                  import same to trial presentation software to use in
                  courtroom presentation;

                  N. MARTINEZ                               4.30 hr.

    01/24/20      Coordinate with Ms. Goldman and Ms. Weiss on boxes
                  shipped to our office for trial preparation;

                  P. YODER                                  0.40 hr.

    01/24/20      Load boxes received from counsel into the conference

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                  room for trial preparation;

                  P. YODER                              1.50 hr.

    01/24/20      Coordinate with Mr. Harris on preparation for trial testimony
                  to be read in at trial for witness Elford and Smith;

                  P. YODER                              0.20 hr.

    01/25/20      Email from and to Ms. Matteo-Boehm and email to Ms. Yoder
                  and Ms. McCloud re: Ms. Matteo-Boehm;

                  C.M. SHUMADINE                        0.10 hr.

    01/26/20      Meetings with Mr. Hibsher, Ms. Goldman, Mr. Harrison,
                  Mr. Girdner, Mr. Abbott and Ms. Weiss re: case preparation;

                  C.M. SHUMADINE                        5.10 hr.

    01/26/20      Continue to design callouts of transcripts from designations
                  and import same to trial presentation software to use in
                  courtroom presentation;

                  N. MARTINEZ                           1.50 hr.

    01/26/20      Trial preparation with attorney Harris on deposition
                  designations to be read in at trial for Ms. Elford and Mr. Smith;

                  P. YODER                              1.00 hr.

    01/27/20      Email to and from Mr. Protogyrou and email to Mr.
                  Hibsher, et al., re: criminal trial;

                  C.M. SHUMADINE                        0.20 hr.

    01/27/20      Meetings with Mr. Hibsher, Mr. Harrison, Ms. Goldman,
                  Mr. Girdner and Mr. Abbott re: trial and scheduling issues;

                  C.M. SHUMADINE                        0.80 hr.

    01/27/20      Emails from and to Ms. Yoder and Ms. Baxter re: logistics;

                  C.M. SHUMADINE                        0.20 hr.

    01/27/20      Continue to design callouts of transcripts from designations
                  and import same to trial presentation software to use in

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                  courtroom presentation;

                  N. MARTINEZ                           0.90 hr.

    01/27/20      Assist Ms. Goldman and Ms. Weiss with trial preparation;

                  P. YODER                              2.90 hr.

    01/27/20      Prepare 2 sets of six witness notebooks with exhibits
                  required by Judge Morgan for use at trial;

                  P. YODER                              3.10 hr.

    01/27/20      Coordinate with Ms. Baxter at the United States District
                  Court on the trial exhibits and trial continuance due to Judge
                  Morgan's overlapping criminal trial;

                  P. YODER                              0.40 hr.

    01/28/20      Office conferences with Mr. Girdner, Mr. Hibsher,
                  Ms. Goldman and Mr. Harrison re: logistical and legal
                  issues expected at trial;

                  C.M. SHUMADINE                        0.90 hr.

    01/28/20      Telephone call from Judge Morgan's assistant;

                  C.M. SHUMADINE                        0.10 hr.

    01/28/20      Telephone conference with court;

                  C.M. SHUMADINE                        0.20 hr.

    01/28/20      Telephone conference with Mr. Prince re: telephone call
                  with court;

                  C.M. SHUMADINE                        0.20 hr.

    01/28/20      Review notice from court, email from Mr. Prince
                  and respond to Mr. Prince;

                  C.M. SHUMADINE                        0.30 hr.

    01/28/20      Office conference with Ms. Goldman and call to Mr. Hibsher
                  re: status of trial;



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                  C.M. SHUMADINE                          0.20 hr.

    01/28/20      Review issues relating to Mr. Prince's email and his complaint;

                  C.M. SHUMADINE                          0.30 hr.

    01/28/20      Update trial laptop with final callouts and assist trial team
                  with displaying trial exhibits for preparation of expert witness;

                  N. MARTINEZ                             3.20 hr.

    01/28/20      Review 2 sets of six witness notebooks for accuracy and
                  assemble notebooks with Plaintiff, Defendant and joint exhibit
                  designations on the dividers;

                  P. YODER                                1.40 hr.

    01/28/20      Assist Mr. Weiss with trial preparation and Ms. Martinez
                  with trial exhibits and designations;

                  P. YODER                                1.50 hr.

    01/28/20      Telephone conference with the U.S. Marshall's office
                  at the United States District Court-Norfolk re: gaining access
                  to the secured gate on Brambleton Avenue for delivery of
                  boxes for trial on Thursday;

                  P. YODER                                0.20 hr.

    01/29/20      Email from Ms. Baxter re: trial date;

                  C.M. SHUMADINE                          0.10 hr.

    01/29/20      Email from Mr. Prince and discuss response to
                  Mr. Prince with Mr. Hibsher, Mr. Girdner, Mr. Harrison
                  and Ms. Goldman;

                  C.M. SHUMADINE                          0.60 hr.

    01/29/20      Meetings with Mr. Hibsher, Ms. Goldman, Mr. Harrison,
                  Mr. Girdner and Mr. Abbott re: issues to arise at trial;

                  C.M. SHUMADINE                          0.60 hr.

    01/29/20      Office conferences with Mr. Girdner responding to his
                  questions regarding the use of Courthouse News;

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                  C.M. SHUMADINE                         0.20 hr.

    01/29/20      Emails from Ms. Baxter and office conference with
                  Mr. Girdner, Ms. Goldman and Mr. Harrison re: emails
                  and trial date;

                  C.M. SHUMADINE                         0.40 hr.

    01/29/20      Additional analysis re: potential response to Mr. Prince's
                  questions re: telephone call;

                  C.M. SHUMADINE                         0.20 hr.

    01/29/20      Revise witness notebooks for Amita Kancherla;

                  P. YODER                               0.70 hr.

    01/29/20      Attempted telephone conference with the U.S. Marshall's
                  office at the United States District Court to arrange for
                  delivery of trial boxes to the United States District Court
                  through the secured entrance to the court and telephone
                  conference with Ms. Baxter in Judge Morgan's office re: same;

                  P. YODER                               0.30 hr.

    01/29/20      Assist Ms. Weiss with copies of multiple documents;

                  P. YODER                               0.20 hr.

    01/30/20      Office conference with Ms. Yoder re: logistics issues
                  regarding access to the court and what should be taken;

                  C.M. SHUMADINE                         0.20 hr.

    01/30/20      Email from Ms. Myers re: Mr. Riggs' subpoena and
                  response from Ms. Goldman;

                  C.M. SHUMADINE                         0.10 hr.

    01/30/20      Additional office conferences with Ms. Yoder,
                  Ms. Martinez, Ms. Goldman, et al., re: logistics of trial;

                  C.M. SHUMADINE                         0.50 hr.

    01/30/20      Review supplemental authority filed by defendant;


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                  C.M. SHUMADINE                            0.20 hr.

    01/30/20      Continue to update trial laptop with additional transcripts
                  callout and test same;

                  N. MARTINEZ                               1.60 hr.

    01/30/20      Two telephone conferences with Ms. Annan at the U.S.
                  Marshall's office and two emails sending confirmation re:
                  access to secured gate at the United States District Court
                  for courier to deliver boxes of documents for use at trial
                  on January 31, 2020 and coordinate same with courier
                  for delivery to the court;

                  P. YODER                                  0.60 hr.

    01/30/20      Assist Ms. Weiss with trial preparation;

                  P. YODER                                  2.60 hr.

    01/31/20      First day of trial of case before Judge Morgan in federal
                  court and meetings with lead counsel and clients;

                  C.M. SHUMADINE                            7.40 hr.

    01/31/20      Set up technology in courtroom and assist trial team
                  with displaying electronic trial exhibits;

                  N. MARTINEZ                               6.50 hr.

    01/31/20      Oversee transporting boxes of trial materials to the
                  United States District Court for trial and attend trial;

                  P. YODER                                  7.40 hr.

    01/31/20      Assist Ms. Weiss and Ms. Goldman with duplicating
                  various documents as needed;

                  P. YODER                                 0.40 hr.

                                    January 2020 Summary of Fees

                                  Hours           Rate/Hr          Amount

    C.M. SHUMADINE                 32.40          450.00               14,580.00
    P. YODER                       52.30          160.00                8,368.00


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  N. MARTINEZ                   33.50          215.00            7,202.50
  TOTAL                        118.20                          $30,150.50

  January 2020 Fees for Professional Services                                      $ 30,150.50

                           *      *       *       *       *        *     *

  02/01/20      Review transcript of first day of trial of case and prepare
                notes re: issues to be addressed in the remainder of trial;

                C.M. SHUMADINE                          1.10 hr.

  02/02/20      Meetings with Mr. Hibsher, Ms. Goldman, Mr. Harrison,
                and Mr. Girdner and prepare for trial of case;

                C.M. SHUMADINE                          5.00 hr.

  02/03/20      Meetings with Mr. Hibsher, et al., and second day of trial
                of case before Judge Morgan in the United States District Court;

                C.M. SHUMADINE                          7.60 hr.

  02/03/20      Continue to assist the trial team with technology to display
                electronic trial exhibits in courtroom and create additional
                callouts from transcripts;

                N. MARTINEZ                             6.70 hr.

  02/03/20      Attend trial in the United States District Court and read in
                deposition testimony of Ms. Elford;

                P. YODER                                6.90 hr.

  02/04/20      Meetings with Mr. Hibsher, et al., and third day of trial of
                case before Judge Morgan in the United States District Court;

                C.M. SHUMADINE                          7.90 hr.

  02/04/20      Continue to assist the trial team with technology to display
                electronic trial exhibits in the courtroom;

                N. MARTINEZ                             6.50 hr.

  02/05/20      Meetings with Mr. Hibsher, et al., and attend final argument
                and decision of the Court;


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                C.M. SHUMADINE                        4.80 hr.

  02/05/20      Review information relating to the filing of a fee application;

                C.M. SHUMADINE                        0.50 hr.

  02/05/20      Continue to assist the trial team with technology to display
                electronic trial exhibits in the courtroom;

                N. MARTINEZ                           2.50 hr.

  02/06/20      Research re: attorneys' fees and email to Ms. Matteo-Boehm
                and review Eastern District cases re: standards for awarding
                attorneys' fees;

                C.M. SHUMADINE                        0.80 hr.

  02/07/20      Emails from and to Mr. Hibsher re: fee application and
                telephone conferences with local attorneys re: providing
                an opinion and review cases re: fees;

                C.M. SHUMADINE                        1.20 hr.

  02/07/20      Email from and to Mr. Hibsher re: extension;

                C.M. SHUMADINE                        0.20 hr.

  02/07/20      Telephone conference with Robert Tata re: his possible
                assistance in providing opinion regarding fee petition;

                C.M. SHUMADINE                        0.30 hr.

  02/07/20      Emails from and to Mr. Hibsher re: request for extension;

                C.M. SHUMADINE                        0.20 hr.

  02/07/20      Initial draft of request for extension and memorandum
                in support;

                C.M. SHUMADINE                        0.30 hr.

  02/07/20      Review case law re: fee awards and send a case from Judge Gibney
                and a newspaper article regarding that case to lead counsel;

                C.M. SHUMADINE                        0.40 hr.



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  02/07/20      Email from Ms. Burnett and arrange for missing invoices
                to be provided to Ms. Matteo-Boehm;

                C.M. SHUMADINE                         0.20 hr.

  02/07/20      Review Department of Justice fee application;

                C.M. SHUMADINE                         0.20 hr.

  02/08/20      Email to Mr. Hibsher re: need to continue to follow up with
                local attorneys re: fees and re: testimony concerning the
                reasonableness of fees;

                C.M. SHUMADINE                         0.10 hr.

  02/08/20      Revise draft motion for extension and memorandum in support;

                C.M. SHUMADINE                         0.20 hr.

  02/10/20      Email from Mr. Hibsher and revise motion for extension
                and memorandum in support;

                C.M. SHUMADINE                         0.20 hr.

  02/10/20      Email drafts to Mr. Prince with explanation;

                C.M. SHUMADINE                         0.10 hr.

  02/10/20      Review email from Ms. Goldman to Mr. Tata with
                attachments and analyze issues regarding Mr. Tata's testimony;

                C.M. SHUMADINE                         0.70 hr.

  02/10/20      Email to and from Mr. Hibsher re: issues in billing
                statements and questions whether particular matters
                will be claimed;

                C.M. SHUMADINE                         0.20 hr.

  02/10/20      Telephone conference with Mr. Prince's office re:
                approval of motion for extension;

                C.M. SHUMADINE                         0.10 hr.

  02/10/20      Telephone conference with Mr. Matheson's office and his
                assistant re: obtaining approval for filing motion for extension;

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                C.M. SHUMADINE                        0.10 hr.

  02/10/20      Emails to and from Mr. Hibsher re: issues with filing;

                C.M. SHUMADINE                        0.20 hr.

  02/10/20      Email Mr. Prince re: changes;

                C.M. SHUMADINE                        0.10 hr.

  02/10/20      Review email from Mr. Tata and consider questions raised;

                C.M. SHUMADINE                        0.10 hr.

  02/10/20      Final review of motion and memorandum requesting
                extension of time to file fee application;

                C.M. SHUMADINE                        0.10 hr.

  02/10/20      Review and revise drafts of motion for extension and
                memorandum in support and email to Mr. Hibsher;

                C.M. SHUMADINE                        0.20 hr.

  02/10/20      Revise the Consent Motion to Extend Time to File a Fee
                Application, Consent Order, and Memorandum in Support
                and file same through the ECF System in the United
                States District Court;

                P. YODER                              0.70 hr.

  02/11/20      Email from and to Mr. Hibsher re: question re: supplemental
                submissions to the Court;

                C.M. SHUMADINE                        0.10 hr.

  02/11/20      Emails to and from Mr. Hibsher re: issues regarding
                extension and analysis of how to proceed;

                C.M. SHUMADINE                        0.30 hr.

  02/12/20      Telephone conference with Mr. Hibsher re: issues in fee
                application;

                C.M. SHUMADINE                        0.20 hr.


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  02/12/20      Telephone conference with Mr. Prince and joint call
                to Ms. Baxter's office re: motion for extension;

                C.M. SHUMADINE                         0.20 hr.

  02/12/20      Continue preparation of Declaration and bills re:
                application for fees;

                C.M. SHUMADINE                         1.50 hr.

  02/12/20      Message from Ms. Baxter and forward to Mr. Hibsher,
                et al., and to Mr. Prince re: Judge Morgan being aware
                of extension application;

                C.M. SHUMADINE                         0.10 hr.

  02/13/20      Email from Mr. Hibsher and response re: sending draft today
                of information relating to recovery of Willcox & Savage fees;

                C.M. SHUMADINE                         0.40 hr.

  02/13/20      Email to and from Mr. Hibsher re: bill of costs and
                reimbursable costs and review of reimbursable costs;

                C.M. SHUMADINE                         0.40 hr.

  02/13/20      Redraft of Declaration and review of past declarations;

                C.M. SHUMADINE                         0.80 hr.

  02/13/20      Research re: prior decisions in the Eastern District of
                Virginia re: attorneys' fees;

                C.M. SHUMADINE                         1.40 hr.

  02/14/20      Review order granting extension;

                C.M. SHUMADINE                         0.10 hr.

  02/19/20      Email from and to Mr. Hibsher re: information to be
                provided to Bob Tata;

                C.M. SHUMADINE                         0.10 hr.

  02/19/20      Review drafts and send to Mr. Tata;



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                C.M. SHUMADINE                       0.50 hr.

  02/19/20      Telephone conference with Mr. Tata re: declaration
                and fees claimed;

                C.M. SHUMADINE                       0.30 hr.

  02/21/20      Email from Mr. Harrison re: reimbursable costs and
                expenses and email to Mr. Harrison;

                C.M. SHUMADINE                       0.20 hr.

  02/22/20      Review Judge Morgan's opinion;

                C.M. SHUMADINE                       0.50 hr.

  02/24/20      Email from Ms. Goldman and review prior cases re:
                Matheson's request for csv files and response to Ms. Goldman;

                C.M. SHUMADINE                       0.50 hr.

  02/25/20      Additional research re: Eastern District practice and
                email from co-counsel in another case and email to
                Mr. Hibsher, et al., re: no requirement for applying the
                discovery rule to fee applications producing machine readable
                information;

                C.M. SHUMADINE                       0.50 hr.

  02/25/20      Additional emails from class action attorney in another
                case re: no requirement for machine readable documents;

                C.M. SHUMADINE                       0.20 hr.

  02/27/20      Review draft Declarations of William Hibsher and
                Rachel Matteo-Boehm to be submitted in fee application;

                C.M. SHUMADINE                       1.20 hr.

  02/27/20      Review draft Declaration of Bob Tata for submission
                in fee application;

                C.M. SHUMADINE                       0.80 hr.




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                              February 2020 Summary of Fees

                             Hours         Rate/Hr   Amount

  C.M. SHUMADINE             46.30         450.00     20,835.00
  P. YODER                     7.6         160.00      1,216.00
  N. MARTINEZ                15.70         215.00      3,375.50
  TOTAL                      69.60                   $25,426.50

  February 2020 Fees for Professional Services                    $ 25,426.50


  TOTAL FEES                                                      $149,019.00




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